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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

In re:                                                  Case No.: 3:24-bk-00496-BAJ
                                                        Chapter 11
GENIE INVESTMENTS NV, INC.
              Debtor(s).


             NOTICE OF FILING STATEMENT OF FINANCIAL AFFAIRS

         PLEASE TAKE NOTICE that the Debtor files the attached STATEMENT OF

FINANCIAL AFFAIRS to complete the required schedules for the Debtor.




                                               Law Offices of Mickler & Mickler, LLP

                                               By:_/s/ Bryan K. Mickler________
                                                     Bryan K. Mickler
                                               Florida Bar No. 091790
                                               Attorney for the Debtor(s)
                                               5452 Arlington Expressway
                                               Jacksonville, FL 32211
                                               (904) 725-0822
                                               (904) 725-0855 FAX
                                               court@planlaw.com
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                                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was furnished to the United States

Trustee and all interested parties per the attached mailing matrix by CM/ECF and/or First Class

United States Mail this ___3__ day of April, 2024.

                                                              /s/ Bryan K. Mickler
                                                              Attorney
docs\bankrupt\forms\addendum notice 11
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                                                                                                    G
                                                                                                 Tran


                                                 Transaction
                                     Date           Type             Num
CD 12-14 MONTHS (6314) - 1
                              08/27/2023        Journal Entry   Bank Acct Adj
CHASE Checkingxxx8502

                              01/03/2023        Expense



                              01/03/2023        Deposit




                              01/03/2023        Deposit
                              01/03/2023        Deposit




                              01/03/2023        Deposit

                              01/03/2023        Expense
                              01/04/2023        Deposit
                              01/04/2023        Expense




                              01/04/2023        Deposit
                              01/04/2023        Expense

                              01/04/2023        Expense
                              01/04/2023        Expense




                              01/04/2023        Deposit




                              01/06/2023        Expense
                              01/06/2023        Deposit
                              01/06/2023        Deposit




                              01/11/2023        Deposit

                              01/12/2023        Expense

                              01/12/2023        Expense
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              01/12/2023       Deposit




              01/12/2023       Deposit



              01/13/2023       Expense

              01/20/2023       Expense

              01/20/2023       Expense




              01/26/2023       Deposit

              01/30/2023       Expense

              01/30/2023       Expense




              01/30/2023       Deposit




              01/30/2023       Deposit




              01/31/2023       Deposit
              01/31/2023       Deposit




              01/31/2023       Deposit




              01/31/2023       Deposit

              02/01/2023       Expense

              02/01/2023       Expense



              02/01/2023       Deposit
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              02/02/2023       Deposit



              02/03/2023       Deposit



              02/03/2023       Deposit



              02/06/2023       Deposit




              02/06/2023       Deposit




              02/06/2023       Deposit




              02/06/2023       Deposit
              02/06/2023       Expense

              02/06/2023       Expense
              02/06/2023       Expense
              02/06/2023       Expense

              02/06/2023       Expense
              02/06/2023       Expense

              02/06/2023       Expense




              02/07/2023       Deposit



              02/07/2023       Deposit



              02/07/2023       Deposit
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              02/07/2023       Deposit



              02/07/2023       Deposit




              02/07/2023       Deposit




              02/07/2023       Deposit
              02/08/2023       Expense

              02/08/2023       Expense
              02/08/2023       Expense
              02/09/2023       Expense




              02/10/2023       Deposit




              02/10/2023       Deposit




              02/10/2023       Deposit




              02/10/2023       Deposit




              02/14/2023       Deposit
              02/14/2023       Deposit

              02/14/2023       Deposit
              02/14/2023       Deposit
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              02/14/2023       Expense
              02/14/2023       Expense

              02/15/2023       Expense




              02/16/2023       Deposit




              02/16/2023       Deposit




              02/16/2023       Deposit




              02/16/2023       Deposit

              02/17/2023       Expense
              02/17/2023       Expense




              02/22/2023       Deposit
              02/23/2023       Expense
              02/23/2023       Expense
              02/24/2023       Expense
              02/24/2023       Expense



              02/27/2023       Deposit




              02/27/2023       Deposit




              02/28/2023       Deposit




              03/01/2023       Deposit
              03/01/2023       Deposit
              03/01/2023       Expense
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              03/02/2023       Expense

              03/02/2023       Expense

              03/02/2023       Expense
              03/02/2023       Expense
              03/02/2023       Expense




              03/02/2023       Deposit
              03/02/2023       Deposit
              03/03/2023       Deposit




              03/03/2023       Deposit
              03/03/2023       Deposit
              03/06/2023       Deposit

              03/06/2023       Deposit
              03/07/2023       Expense

              03/07/2023       Expense




              03/08/2023       Expense




              03/09/2023       Deposit

              03/09/2023       Deposit
              03/09/2023       Expense



              03/15/2023       Deposit
              03/16/2023       Expense
              03/17/2023       Expense

              03/22/2023       Deposit

              03/22/2023       Deposit

              03/22/2023       Deposit

              03/23/2023       Deposit
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              03/24/2023       Deposit
              03/24/2023       Transfer

              03/27/2023       Deposit
              03/27/2023       Transfer



              03/27/2023       Expense
              03/27/2023       Expense



              03/28/2023       Expense
              03/28/2023       Deposit



              03/29/2023       Expense

              03/29/2023       Deposit



              03/29/2023       Deposit
              03/31/2023       Transfer
              04/03/2023       Expense
              04/04/2023       Deposit



              04/04/2023       Deposit



              04/05/2023       Expense



              04/06/2023       Deposit

              04/07/2023       Expense



              04/07/2023       Expense



              04/07/2023       Expense



              04/07/2023       Expense
              04/07/2023       Expense



              04/07/2023       Expense



              04/07/2023       Expense



              04/07/2023       Expense
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              04/07/2023       Deposit



              04/07/2023       Expense



              04/07/2023       Expense



              04/07/2023       Expense



              04/10/2023       Deposit

              04/10/2023       Deposit

              04/10/2023       Expense
              04/10/2023       Expense

              04/12/2023       Deposit



              04/12/2023       Deposit



              04/13/2023       Expense
              04/14/2023       Expense



              04/17/2023       Expense



              04/17/2023       Expense

              04/18/2023       Deposit
              04/18/2023       Expense
              04/19/2023       Expense
              04/19/2023       Expense
              04/21/2023       Expense



              04/24/2023       Expense



              04/26/2023       Expense
              04/26/2023       Expense

              05/02/2023       Deposit
              05/02/2023       Deposit



              05/03/2023       Expense
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              05/03/2023       Deposit



              05/03/2023       Deposit
              05/04/2023       Deposit
              05/04/2023       Transfer

              05/05/2023       Expense



              05/05/2023       Expense



              05/08/2023       Expense



              05/15/2023       Expense
              05/16/2023       Expense

              05/31/2023       Deposit



              05/31/2023       Deposit

              06/01/2023       Deposit



              06/01/2023       Expense

              06/09/2023       Expense



              06/09/2023       Expense
              06/09/2023       Expense




              06/09/2023       Expense



              06/09/2023       Expense



              06/09/2023       Expense



              06/09/2023       Expense
              06/12/2023       Expense
              06/13/2023       Expense



              06/14/2023       Expense

              06/20/2023       Expense
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                             06/22/2023          Deposit
                             06/23/2023          Expense
                             06/26/2023          Expense
                             06/28/2023          Expense



                             06/28/2023          Expense




                             06/29/2023          Deposit

                             06/29/2023          Expense




                             06/30/2023          Deposit



                             07/07/2023          Expense



                             07/07/2023          Expense



                             07/12/2023          Deposit



                             07/18/2023          Expense



                             07/19/2023          Expense

                             07/19/2023          Expense



                             07/19/2023          Expense



                             07/20/2023          Deposit
                             07/25/2023          Expense
                             07/25/2023          Expense
                             07/27/2023          Expense

                             07/28/2023          Expense
                             07/31/2023          Expense
                             08/27/2023          Journal Entry   Bank Acct Adj
CHASE Chk xxx9701 (Legal)
                             Beginning Balance
                             01/06/2023          Deposit
                             01/31/2023          Transfer
                             02/06/2023          Expense
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                                02/14/2023          Deposit
                                02/14/2023          Expense
                                02/21/2023          Transfer
                                03/02/2023          Deposit
                                03/06/2023          Deposit
                                03/31/2023          Transfer
                                08/27/2023          Journal Entry   Bank Acct Adj
CHASE MM Acct xxx3350 (Bridge
Interest)
                                Beginning Balance
                                01/04/2023          Expense
                                01/04/2023          Deposit
                                01/04/2023          Expense
                                01/06/2023          Deposit
                                02/06/2023          Expense
                                02/06/2023          Expense
                                02/08/2023          Expense
                                02/14/2023          Deposit
                                02/14/2023          Expense
                                02/23/2023          Expense
                                03/02/2023          Expense
                                03/03/2023          Deposit
                                08/27/2023          Journal Entry   Bank Acct Adj
CHASE MM Acct# xxx2222
                                Beginning Balance
                                01/03/2023          Deposit
                                01/04/2023          Expense

                                01/11/2023          Deposit




                                01/24/2023          Deposit
                                01/31/2023          Transfer
                                01/31/2023          Deposit
                                02/08/2023          Expense



                                02/10/2023          Deposit



                                02/13/2023          Deposit
                                02/17/2023          Expense
                                02/21/2023          Transfer
                                02/24/2023          Expense
                                03/01/2023          Expense
                                03/01/2023          Deposit
                                03/02/2023          Expense
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                            03/03/2023       Deposit
                            03/09/2023       Expense
                            03/16/2023       Expense
                            03/24/2023       Transfer
                            03/27/2023       Transfer
                            03/31/2023       Transfer
                            03/31/2023       Transfer
                            03/31/2023       Deposit         1
                            05/04/2023       Transfer
                            08/27/2023       Journal Entry   Bank Acct Adj
1278 Loan #1278
                                                             Warrant
                            12/31/2023       Journal Entry   Investment
1903 Loan #1903
                                                             1st Tranche
                            07/28/2023       Journal Entry   Loan#1903
2113 Loan #2113
                                                             2nd Tranche
                            07/19/2023       Journal Entry   #2113
2565 Loan #2565
                                                             1st Tranche
                            08/28/2023       Journal Entry   Loan#2565
2587 Loan #2587
                                                             Tranche 1 Loan
                            04/07/2023       Journal Entry   #2587
                                                             Tranche 2
                            07/07/2023       Journal Entry   Loan#2587
2611 Loan #2611
                                                             1st Tranche
                            04/07/2023       Journal Entry   Loan#2611
2658 Loan #2658
                                                             1st Tranche
                            04/07/2023       Journal Entry   #2658
2665 Loan #2665
                                                             1st Tranche
                            04/07/2023       Journal Entry   Loan#2665
2685 Loan #2685
                                                             2nd Tranche
                            07/07/2023       Journal Entry   Loan#2685
                                                             1st Tranche
                            07/07/2023       Journal Entry   #2685
2694 Loan #2694
                                                             1st Tranche
                            04/07/2023       Journal Entry   Loan#2694
2695 Loan #2695
                                                             1st Tranche
                            04/10/2023       Journal Entry   #2695
2701 Loan #2701
                                                             1st Tranche
                            04/07/2023       Journal Entry   #2701
2703 Loan #2703
                            04/07/2023       Journal Entry   Tranche 1 #2703
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 2704 Loan #2704
                                        04/07/2023          Journal Entry   Tranche 1 #2704
 2706 Loan #2706
                                        04/07/2023          Journal Entry   Tranche 1 #2706
 2716 Loan #2716
                                        04/07/2023          Journal Entry   Tranche 1 #2716
 2717 Loan #2717
                                        04/07/2023          Journal Entry   Tranche 1 #2717
 2735 Loan #2735
                                        04/07/2023          Journal Entry   Tranche 1 #2735
 3281 Loan #3281
                                        08/27/2023          Journal Entry   Bank Acct Adj
                                                                            9/23 Cash
                                        09/30/2023          Journal Entry   Investments
                                                                            Genie Invest II
                                        12/31/2023          Journal Entry   A/P

Loans Receivable Offset from Chase Bk
                                        Beginning Balance
                                        01/03/2023          Journal Entry   Due Diligence
                                        01/31/2023          Journal Entry   Due Diligence
                                        02/02/2023          Journal Entry   ICA Loan#2685
                                        02/08/2023          Journal Entry   ICA Loan#2695
                                        02/09/2023          Journal Entry   ICA Loan#2703
                                        02/10/2023          Journal Entry   ICA Loan#2701
                                        02/10/2023          Journal Entry   ICA Loan#2704
                                        02/10/2023          Journal Entry   ICA Loan#2706
                                        02/16/2023          Journal Entry   ICA Loan#2716
                                        02/16/2023          Journal Entry   ICA Loan#2735
                                        02/16/2023          Journal Entry   ICA Loan#2717
                                                                            Tranche 1 Loan
                                        04/07/2023          Journal Entry   #2587
                                        04/07/2023          Journal Entry   Tranche 1 #2703
                                                                            Tranche 1 Loan
                                        04/07/2023          Journal Entry   #2587
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2694
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   #2658
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   #2701
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2694
                                        04/07/2023          Journal Entry   Tranche 1 #2716
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2611
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   #2658
                                        04/07/2023          Journal Entry   Tranche 1 #2704
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2611
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                                       04/07/2023       Journal Entry   Tranche 1 #2735
                                       04/07/2023       Journal Entry   Tranche 1 #2706
                                                                        1st Tranche
                                       04/07/2023       Journal Entry   Loan#2665
                                                                        1st Tranche
                                       04/07/2023       Journal Entry   Loan#2665
                                       04/07/2023       Journal Entry   Tranche 1 #2717
                                                                        1st Tranche
                                       04/10/2023       Journal Entry   #2695
                                       04/18/2023       Expense

                                       06/09/2023       Expense
                                                                        2nd Tranche
                                       07/07/2023       Journal Entry   Loan#2685
                                                                        Tranche 2
                                       07/07/2023       Journal Entry   Loan#2587
                                                                        1st Tranche
                                       07/07/2023       Journal Entry   #2685



                                       07/07/2023       Expense



                                       07/07/2023       Expense

                                       07/19/2023       Expense
                                                                        2nd Tranche
                                       07/19/2023       Journal Entry   #2113

                                       07/28/2023       Expense
                                                                        1st Tranche
                                       07/28/2023       Journal Entry   Loan#1903
                                                                        1st Tranche
                                       07/28/2023       Journal Entry   Loan#1903
                                                                        1st Tranche
                                       08/28/2023       Journal Entry   Loan#2565
                                                                        Warren Law
                                       12/31/2023       Journal Entry   Group
                                                                        Warren Law
                                       12/31/2023       Journal Entry   Group
Morgan Stanley Acct xxx145712-290

 ABRDN Bloomberg All Commodit (BCI)
                                                                        08/23 Stock
                                       08/31/2023       Journal Entry   Purchase
                                       09/30/2023       Journal Entry   9/23 Stock Sales
 ALPS Clean Energy ETF
                                       07/31/2023       Journal Entry
                                                                        8/23 Realized
                                       08/31/2023       Journal Entry   Loss
                                                                        08/23 Stocks
                                       08/31/2023       Journal Entry   Sold
  American BD FD of America F2
(ABNFX)
                                       07/31/2023       Journal Entry
 American CAP Inc Builder F2 (CAIFX)
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                                          07/31/2023       Journal Entry

 American Global Balanced F2 (GBLFX)
                                          07/31/2023       Journal Entry
 Amplify High Income ETF
                                          07/31/2023       Journal Entry
                                                                           08/23 Stocks
                                          08/31/2023       Journal Entry   Sold
 AQR EQ Market Neutral Inst (QMNIX)
SH 2,149.465
                                                                           Morgan Purch
                                          01/31/2023       Journal Entry   1/23
                                                                           Investments Feb
                                          02/28/2023       Journal Entry   2023
                                                                           Investments
                                          03/31/2023       Journal Entry   03/23
 Bank of America Corp FXD to 102024
Var Thraftr 6.5%
                                                                           Investments May
                                          05/31/2023       Journal Entry   23
                                                                           Realized
                                          07/31/2023       Journal Entry   Gains/Loss
                                          07/31/2023       Journal Entry
  Bk of America CD Charlotte NC CD
5.250%
                                          07/31/2023       Journal Entry
                                          09/30/2023       Journal Entry   9/23 Stock Sales
                                                                           Realized
                                          09/30/2023       Journal Entry   Gains/Loss
 Blackrock energy & Resources (BGR)
SH 307
                                                                           Morgan Purch
                                          01/31/2023       Journal Entry   1/23
                                                                           Investments
                                          03/31/2023       Journal Entry   03/23
                                                                           08/23 Stock
                                          08/31/2023       Journal Entry   Purchase
                                                                           08/23 Stock
                                          08/31/2023       Journal Entry   Purchase
                                          09/30/2023       Journal Entry   9/23 Stock Sales
 Blackrock Flt Rte Inc Strat Rd (FRA)
SH 230
                                                                           Morgan Purch
                                          01/31/2023       Journal Entry   1/23
                                                                           Investments
                                          03/31/2023       Journal Entry   03/23
                                                                           08/23 Stock
                                          08/31/2023       Journal Entry   Purchase
                                          09/30/2023       Journal Entry   9/23 Stock Sales
 Blackrock LTD Duration Inc.
                                          07/31/2023       Journal Entry
                                                                           08/23 Stocks
                                          08/31/2023       Journal Entry   Sold
 Blackrock Multi-Asset Inc Inst (BIICX)
                                                                           Investments May
                                          05/31/2023       Journal Entry   23
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                                        07/31/2023       Journal Entry
 Blackrock Multi-Sector Inc TR (BIT)
                                        07/31/2023       Journal Entry
 Blackrock Res & Comm Strat TR
                                        07/31/2023       Journal Entry
                                                                         8/23 Realized
                                        08/31/2023       Journal Entry   Loss
                                                                         08/23 Stocks
                                        08/31/2023       Journal Entry   Sold
 Blackstone Alt Multi-Strat 1 (BXMIX)
SH 2,770.946
                                                                         Morgan Purch
                                        01/31/2023       Journal Entry   1/23
                                                                         Morgan Purch
                                        01/31/2023       Journal Entry   1/23
                                                                         Investments Feb
                                        02/28/2023       Journal Entry   2023
                                                                         Investments
                                        03/31/2023       Journal Entry   03/23
                                        07/31/2023       Journal Entry
                                                                         08/23 Stocks
                                        08/31/2023       Journal Entry   Sold
 Blackstone Inc (BX)
                                        07/31/2023       Journal Entry
 BMO Harris Bk Natl Assn 5.500%
                                        07/31/2023       Journal Entry
                                                                         08/23 Stocks
                                        08/31/2023       Journal Entry   Sold
 Chevron Corp (CVX)
 Citigrp Inc 7.125%-J
                                        07/31/2023       Journal Entry
                                        09/30/2023       Journal Entry   9/23 Stock Sales
  Clearbridge Large Cap GRT ETF
(LRGE)
                                        07/31/2023       Journal Entry
 Columbia Balanced Inst (CBALX)
                                                                         Investments May
                                        05/31/2023       Journal Entry   23
                                                                         Realized
                                        07/31/2023       Journal Entry   Gains/Loss
                                        07/31/2023       Journal Entry
 Coterra Energy Inc
                                                                         08/23 Stock
                                        08/31/2023       Journal Entry   Purchase
 DNP Select Income Inc
                                                                         08/23 Stock
                                        08/31/2023       Journal Entry   Purchase
                                        09/30/2023       Journal Entry   9/23 Stock Sales
 Doubleline Total Return 1 (DBLTX)
                                        07/31/2023       Journal Entry
 Eaton Vance LTD Duration FD
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                                                                          08/23 Stocks
                                         08/31/2023       Journal Entry   Sold
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
 Exxon Mobil Corp (XOM) SH 3
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                                                          Investments
                                         03/31/2023       Journal Entry   03/23
  Fed Home Ln Mtg Corp Med Term No
3134GYD25
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                                                          Investments Feb
                                         02/28/2023       Journal Entry   2023
  Federated Hermes Govt OBL AVR
(GOVXX) SH 296,454.29
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                                                          Investments Feb
                                         02/28/2023       Journal Entry   2023
                                                                          Investments
                                         03/31/2023       Journal Entry   03/23
                                         04/30/2023       Journal Entry   Investments 4/24
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
                                         07/31/2023       Journal Entry
                                         07/31/2023       Journal Entry
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                         09/30/2023       Journal Entry   9/23 Stock Sales
                                                                          Realized
                                         09/30/2023       Journal Entry   Gains/Loss
                                         11/30/2023       Journal Entry   Stock Purchase
                                                                          12/23 Stock
                                         12/31/2023       Journal Entry   Sales
  Federated HRMS FLRT STR Inc IS
(FFRSX)
                                         07/31/2023       Journal Entry
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                         09/30/2023       Journal Entry   9/23 Stock Sales
 Fidelis Insurance Holdings LTD
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                         09/30/2023       Journal Entry   9/23 Stock Sales
  First Tr MLP & ENRG INC FND (FEI) SH
981
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                                                          Investments
                                         03/31/2023       Journal Entry   03/23
 First Trst NASD Cl Edgt SgIIF
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                                         07/31/2023       Journal Entry
                                                                          8/23 Realized
                                         08/31/2023       Journal Entry   Loss
                                                                          08/23 Stocks
                                         08/31/2023       Journal Entry   Sold
 Flexshares High Yield Value (HYGV)
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
 Franklin Investment Grade Co (FLCO)
SH 174
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                                                          Investments
                                         03/31/2023       Journal Entry   03/23
 Ft North American Energy Infra (EMLP)
SH 984
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                                                          Investments
                                         03/31/2023       Journal Entry   03/23
 Gabelli Gold I (GLDIX)
                                         07/31/2023       Journal Entry
 General Motors Financial Co Inc.
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
 Global X NASD 100 Cov Call (QYLD)
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry

 Global X S&P 500 CA VAL ETF (CATH)
                                         07/31/2023       Journal Entry

 Goldman Sachs Group Inc/The 6.910%
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
                                                                          Realized
                                         07/31/2023       Journal Entry   Gains/Loss

 Goldman Sachs Group Inc/The 7.022%
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
                                                                          Realized
                                         07/31/2023       Journal Entry   Gains/Loss
 Goldman Sachs Grp Inc 8.97%
                                         07/31/2023       Journal Entry
                                                                          8/23 Realized
                                         08/31/2023       Journal Entry   Loss
                                                                          08/23 Stocks
                                         08/31/2023       Journal Entry   Sold
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  Goldmann Sachs Access TRE 0-1 Y
(GBIL) SH 1484
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                         04/30/2023       Journal Entry   Investments 4/24
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
                                                                          Realized
                                         07/31/2023       Journal Entry   Gains/Loss
  Harmony Gold MNG LTD ADR NEW
(HMY)
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
 Huya Inc Ads Rep SHS A
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                         09/30/2023       Journal Entry   9/23 Stock Sales
 INTL Business Machines Corp
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                         09/30/2023       Journal Entry   9/23 Stock Sales
 Invesco DB Commodity Index TRA
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                         02/28/2023       Journal Entry   Sold 02/2023
 Invesco Global Water ETF (PIO)
                                         07/31/2023       Journal Entry
 Invesco QQQ Trust, Series 1 (QQQ)
                                         07/31/2023       Journal Entry
 Invesco Short Term Treasury (TBLL)
                                         10/31/2023       Journal Entry   Stock Purchases
                                                                          12/23 Stock
                                         12/31/2023       Journal Entry   Sales
                                                                          12/23 Stock
                                         12/31/2023       Journal Entry   Sales
 Invesco Treasury Collateral ET (CLTL)
SH 7
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
                                         07/31/2023       Journal Entry
 Invesco Ultra Short Duration
                                                                          08/23 Stock
                                         08/31/2023       Journal Entry   Purchase
                                                                          08/23 Stocks
                                         08/31/2023       Journal Entry   Sold
  Invesco Variable Rate ETF (VRIG) SH
1503
                                                                          Morgan Purch
                                         01/31/2023       Journal Entry   1/23
                                         04/30/2023       Journal Entry   Investments 4/24
                                                                          Investments May
                                         05/31/2023       Journal Entry   23
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                                       07/31/2023       Journal Entry
 Ishares 0-3 Month Treasury B (SGOV)
                                       10/31/2023       Journal Entry   Stock Purchases
                                                                        12/23 Stock
                                       12/31/2023       Journal Entry   Sales
                                                                        12/23 Stock
                                       12/31/2023       Journal Entry   Sales
 Ishares 0-3 Month Treasury B (SGOV)
SH 11119
                                                                        Morgan Stanley
                                       01/31/2023       Journal Entry   Jan 23
                                                                        Morgan Purch
                                       01/31/2023       Journal Entry   1/23
                                                                        Investments Feb
                                       02/28/2023       Journal Entry   2023
                                       02/28/2023       Journal Entry   Sold 02/2023
 Ishares GSCI Commodity Dynam
                                                                        Morgan Purch
                                       01/31/2023       Journal Entry   1/23
                                       02/28/2023       Journal Entry   Sold 02/2023
 Ishares IBOXX Hy Cor BD ETF (HYG)
                                                                        Investments May
                                       05/31/2023       Journal Entry   23
                                       07/31/2023       Journal Entry
 Ishares India 50 ETF (INDY)
                                                                        Investments May
                                       05/31/2023       Journal Entry   23
                                       07/31/2023       Journal Entry
                                                                        08/23 Stock
                                       08/31/2023       Journal Entry   Purchase
                                                                        08/23 Stock
                                       08/31/2023       Journal Entry   Purchase
                                                                        Realized
                                       09/30/2023       Journal Entry   Gains/Loss
                                       09/30/2023       Journal Entry   9/23 Stock Sales
  Ishares MSCI Braz SM Cap ETF
(EWZS) SH 33
                                                                        Morgan Purch
                                       01/31/2023       Journal Entry   1/23
                                       02/28/2023       Journal Entry   Sold 02/2023
 Ishares MSCI Brazil ETF (EWZ) SH 13
                                                                        Morgan Purch
                                       01/31/2023       Journal Entry   1/23
                                       02/28/2023       Journal Entry   Sold 02/2023
  Ishares MSCI Emerging Mkts ETF
(EEM)
                                       07/31/2023       Journal Entry
                                                                        8/23 Realized
                                       08/31/2023       Journal Entry   Loss
                                                                        08/23 Stocks
                                       08/31/2023       Journal Entry   Sold
 Ishares MSCI KLD 400 SCL ETF (DSI)
                                       07/31/2023       Journal Entry
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 Ishares Short Treasury BD EFT (SHV)
SH 1012
                                                                              Morgan Purch
                                         01/31/2023           Journal Entry   1/23
                                         04/30/2023           Journal Entry   Investments 4/24
                                                                              Investments May
                                         05/31/2023           Journal Entry   23
                                         07/31/2023           Journal Entry
                                                                              Realized
                                         07/31/2023           Journal Entry   Gains/Loss
 Ishares Short Treasury BD ETF (SHV)
                                         10/31/2023           Journal Entry   Stock Purchases
                                                                              12/23 Stock
                                         12/31/2023           Journal Entry   Sales
                                                                              12/23 Stock
                                         12/31/2023           Journal Entry   Sales
 Ishares Silver Shares (SLV)
                                         07/31/2023           Journal Entry
                                                                              08/23 Stocks
                                         08/31/2023           Journal Entry   Sold
                                                                              8/23 Realized
                                         08/31/2023           Journal Entry   Loss
 Ishares Treasury Floating Rate (TFLO)
SH 2946
                                          Beginning Balance
                                                                              Morgan Stanley
                                         01/31/2023           Journal Entry   Jan 23
                                                                              08/23 Stock
                                         08/31/2023           Journal Entry   Purchase
                                         09/30/2023           Journal Entry   9/23 Stock Sales
                                         10/31/2023           Journal Entry   Stock Purchases
                                                                              12/23 Stock
                                         12/31/2023           Journal Entry   Sales
                                                                              12/23 Stock
                                         12/31/2023           Journal Entry   Sales

 Janus Henderson Balanced 1 (JBALX)
                                                                              Investments May
                                         05/31/2023           Journal Entry   23
                                         07/31/2023           Journal Entry
  John Hancock Financial Opps FD
(BTO) SH 11
                                          Beginning Balance
                                                                              Morgan Purch
                                         01/31/2023           Journal Entry   1/23
                                                                              Investments Feb
                                         02/28/2023           Journal Entry   2023
 JPMorgan Chase & Co FXD to 102024
Var Thrafter 6.1000%
                                          Beginning Balance
                                                                              Morgan Purch
                                         01/31/2023           Journal Entry   1/23
                                                                              Morgan Purch
                                         01/31/2023           Journal Entry   1/23
                                                                              Investments Feb
                                         02/28/2023           Journal Entry   2023
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 JPMorgan Chase & Co Fxd to 112022
Var Thraftr 7.8791%
                                                                         Investments May
                                        05/31/2023       Journal Entry   23
                                                                         Realized
                                        07/31/2023       Journal Entry   Gains/Loss
                                        07/31/2023       Journal Entry

 JPMorgan Chase & Co FXD to 8.549%
                                        07/31/2023       Journal Entry
                                        09/30/2023       Journal Entry   9/23 Stock Sales
  JPMorgan Chase Bk Columbus OH CD
5.500%
                                        07/31/2023       Journal Entry
                                                                         08/23 Stock
                                        08/31/2023       Journal Entry   Purchase
                                        09/30/2023       Journal Entry   9/23 Stock Sales
                                                                         Realized
                                        09/30/2023       Journal Entry   Gains/Loss

 JPMorgan Equity Premium Inco (JEPI)
                                                                         Investments May
                                        05/31/2023       Journal Entry   23
                                        07/31/2023       Journal Entry
 JPMorgan Income Builder (JNBSX)
                                                                         Investments May
                                        05/31/2023       Journal Entry   23
                                        07/31/2023       Journal Entry
  JPMorgan Mortgage-Backed Sec 1
(OMBIX)
                                                                         Investments May
                                        05/31/2023       Journal Entry   23
                                        07/31/2023       Journal Entry
 JPMorgan Ultra-Short Income (JPST)
                                        07/31/2023       Journal Entry
 Lennar Corp
                                                                         Morgan Purch
                                        01/31/2023       Journal Entry   1/23
                                        04/30/2023       Journal Entry   Investments 4/24
                                                                         Investments May
                                        05/31/2023       Journal Entry   23
                                        07/31/2023       Journal Entry
                                                                         Realized
                                        07/31/2023       Journal Entry   Gains/Loss
 Lord Abbett Bond DEB 1 (LBNYX)
                                        07/31/2023       Journal Entry
 Lord Abbett Core Fixed Inc 1 (LCRYX)
                                        07/31/2023       Journal Entry
 Lord Abett Ultra Short BD 1 (LUBYX)
                                        07/31/2023       Journal Entry
 MFS Intermediate Income TR SBI
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                                                                   08/23 Stocks
                              08/31/2023           Journal Entry   Sold
                                                                   08/23 Stock
                              08/31/2023           Journal Entry   Purchase
Morgan Stanley Cash Account
                               Beginning Balance

                              01/03/2023           Expense
                                                                   Morgan Stanley
                              01/31/2023           Journal Entry   1/23
                                                                   Morgan Stanley
                              01/31/2023           Journal Entry   Jan 23
                                                                   Morgan Stanley
                              01/31/2023           Journal Entry   1/23
                                                                   Morgan Stanley
                              01/31/2023           Journal Entry   1/23
                                                                   Morgan Purch
                              01/31/2023           Journal Entry   1/23
                              02/28/2023           Journal Entry   Adj 2/23
                              02/28/2023           Journal Entry   Adj 2/23
                              02/28/2023           Journal Entry   Adj 2/23
                              02/28/2023           Journal Entry   Sold 02/2023
                                                                   Investments Feb
                              02/28/2023           Journal Entry   2023
                              02/28/2023           Journal Entry   Adj 2/23
                              02/28/2023           Journal Entry   Div/Fees 2/23
                              02/28/2023           Journal Entry   Div/Fees 2/23
                              02/28/2023           Journal Entry   Div/Fees 2/23




                              03/02/2023           Expense




                              03/08/2023           Expense
                              03/31/2023           Journal Entry   Dividends Mar 23
                                                                   Investments
                              03/31/2023           Journal Entry   03/23
                              03/31/2023           Journal Entry   Dividends Mar 23
                              04/30/2023           Journal Entry   Investments 4/24
                              04/30/2023           Journal Entry   Dividends 4/23
                              04/30/2023           Journal Entry   Dividends 4/23
                              05/31/2023           Journal Entry   Dividends 5/23
                              05/31/2023           Journal Entry   Dividends 5/23
                              05/31/2023           Journal Entry   Dividends 5/23
                                                                   Investments May
                              05/31/2023           Journal Entry   23
                                                                   Investments May
                              05/31/2023           Journal Entry   23
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              05/31/2023       Journal Entry   Dividends 5/23




              06/29/2023       Deposit
                                               Interest June
              06/30/2023       Journal Entry   2023




              06/30/2023       Deposit
                                               Interest June
              06/30/2023       Journal Entry   2023
                                               Interest June
              06/30/2023       Journal Entry   2023
                                               Interest June
              06/30/2023       Journal Entry   2023
                                               Interest June
              06/30/2023       Journal Entry   2023
              07/31/2023       Journal Entry   Cash Investment
              07/31/2023       Journal Entry
                                               Feb 28 Loan
              07/31/2023       Journal Entry   Interest
              07/31/2023       Journal Entry   Cash Investment
              07/31/2023       Journal Entry   Cash Investment
              07/31/2023       Journal Entry   Cash Investment
              07/31/2023       Journal Entry
              08/31/2023       Journal Entry
              08/31/2023       Journal Entry   Cash Investment
                                               08/23 Stocks
              08/31/2023       Journal Entry   Sold
                                               08/23 Stock
              08/31/2023       Journal Entry   Purchase
              08/31/2023       Journal Entry   Cash Investment
              08/31/2023       Journal Entry   Cash Investment
              08/31/2023       Journal Entry   Cash Investment
                                               9/23 Cash
              09/30/2023       Journal Entry   Investments
                                               9/23 Cash
              09/30/2023       Journal Entry   Investments
                                               9/23 Cash
              09/30/2023       Journal Entry   Investments
                                               9/23 Cash
              09/30/2023       Journal Entry   Investments
              09/30/2023       Journal Entry   9/23 Stock Sales
                                               9/23 Cash
              09/30/2023       Journal Entry   Investments
              10/31/2023       Journal Entry   Stock Purchases
              10/31/2023       Journal Entry   Cash Investments
              10/31/2023       Journal Entry   Cash Investments
              10/31/2023       Journal Entry   Cash Investments
              11/02/2023       Journal Entry   Loan
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                                        11/30/2023           Journal Entry   Cash Investments
                                        11/30/2023           Journal Entry   Stock Purchase
                                        11/30/2023           Journal Entry   Cash Investments
                                        11/30/2023           Journal Entry   Cash Investments
                                        12/31/2023           Journal Entry   Cash Investment
                                        12/31/2023           Journal Entry   Cash Investment
                                        12/31/2023           Journal Entry   Cash Investment
                                                                             12/23 Stock
                                        12/31/2023           Journal Entry   Sales
                                        12/31/2023           Journal Entry   Cash Investment
 MSIF Global Infrastructure 1 (MTIIX)
                                                                             Investments May
                                        05/31/2023           Journal Entry   23
                                        07/31/2023           Journal Entry
 Neuberger Berman LG SH INST
                                        07/31/2023           Journal Entry
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold
 Neuropace Inc
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase
                                        09/30/2023           Journal Entry   9/23 Stock Sales
 OneMain Finance Corp 7.125%
                                        07/31/2023           Journal Entry
                                        09/30/2023           Journal Entry   9/23 Stock Sales
 Owens & Minor Inc New
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase
                                        09/30/2023           Journal Entry   9/23 Stock Sales
 Pacer US Cash Cows 100 ETF (COWZ)
SH 242
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023
                                        02/28/2023           Journal Entry   Sold 02/2023
                                                                             Investments
                                        03/31/2023           Journal Entry   03/23
                                                                             Investments May
                                        05/31/2023           Journal Entry   23
                                        07/31/2023           Journal Entry
 PBF Energy Inc (PBF) SH 10
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23
                                        02/28/2023           Journal Entry   Sold 02/2023
 PJT Partners Inc Com CL A (PJT)
                                        07/31/2023           Journal Entry
 Prelude Therapeutics Inc Com
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                                                                               08/23 Stock
                                          08/31/2023           Journal Entry   Purchase
                                          09/30/2023           Journal Entry   9/23 Stock Sales
 Progressive Corp/The Fxd to 032023
Var Thraftr 7.4052%
                                                                               Investments May
                                          05/31/2023           Journal Entry   23
                                          07/31/2023           Journal Entry

 Prudential Financial Inc FXD to 6.750%
                                          07/31/2023           Journal Entry
                                                                               Realized
                                          09/30/2023           Journal Entry   Gains/Loss
                                          09/30/2023           Journal Entry   9/23 Stock Sales
 Putnam Ultra Sht Dur Inc Y (PSDYX)
                                                                               Investments May
                                          05/31/2023           Journal Entry   23
                                          07/31/2023           Journal Entry
 Salesforce Inc (CRM)
                                          07/31/2023           Journal Entry
 SPDR Bloomberg 1-3 Month T-B (BIL)
SH 1622
                                           Beginning Balance
                                                                               Morgan Purch
                                          01/31/2023           Journal Entry   1/23
                                          04/30/2023           Journal Entry   Investments 4/24
                                                                               Investments May
                                          05/31/2023           Journal Entry   23
                                                                               Realized
                                          07/31/2023           Journal Entry   Gains/Loss
                                          07/31/2023           Journal Entry
 SPDR Gold TR Gold SHS (GLD)
                                                                               08/23 Stocks
                                          08/31/2023           Journal Entry   Sold
 SPDR S&P Insurance ETF
                                                                               08/23 Stock
                                          08/31/2023           Journal Entry   Purchase
                                          09/30/2023           Journal Entry   9/23 Stock Sales
 SPDR S&P Metals & Mining
                                                                               08/23 Stock
                                          08/31/2023           Journal Entry   Purchase
                                                                               08/23 Stocks
                                          08/31/2023           Journal Entry   Sold
 Splunk Inc
                                                                               08/23 Stock
                                          08/31/2023           Journal Entry   Purchase
                                          09/30/2023           Journal Entry   9/23 Stock Sales
 Sprott Gold Equity Fund Inst (SGDIX)
                                                                               Investments May
                                          05/31/2023           Journal Entry   23
                                          07/31/2023           Journal Entry
                                                                               08/23 Stocks
                                          08/31/2023           Journal Entry   Sold
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                                                                          8/23 Realized
                                     08/31/2023           Journal Entry   Loss
 Telecom Argentina S.A.ADR
                                                                          08/23 Stock
                                     08/31/2023           Journal Entry   Purchase
                                                                          08/23 Stock
                                     08/31/2023           Journal Entry   Purchase
                                     09/30/2023           Journal Entry   9/23 Stock Sales
  TIAA FSB Jacksonv JacksonvilleFL
5.250%
                                     07/31/2023           Journal Entry
                                     09/30/2023           Journal Entry   9/23 Stock Sales
                                                                          Realized
                                     09/30/2023           Journal Entry   Gains/Loss
 Transportadora De Gas S.A. Ads
                                                                          08/23 Stock
                                     08/31/2023           Journal Entry   Purchase
                                                                          08/23 Stock
                                     08/31/2023           Journal Entry   Purchase
                                     09/30/2023           Journal Entry   9/23 Stock Sales
                                                                          Realized
                                     09/30/2023           Journal Entry   Gains/Loss
 United States Steel Corp
                                                                          08/23 Stocks
                                     08/31/2023           Journal Entry   Sold
                                                                          08/23 Stock
                                     08/31/2023           Journal Entry   Purchase
  United States Treasury Bond
912810ET1
                                                                          Morgan Purch
                                     01/31/2023           Journal Entry   1/23
                                     01/31/2023           Journal Entry   Adj 1/23
                                                                          Morgan Purch
                                     01/31/2023           Journal Entry   1/23
                                                                          Investments
                                     03/31/2023           Journal Entry   03/23
 US Treasury Note CUSIP 91282CFP1
                                      Beginning Balance
                                     01/31/2023           Journal Entry   Adj 1/23
                                                                          Morgan Purch
                                     01/31/2023           Journal Entry   1/23
                                                                          Investments Feb
                                     02/28/2023           Journal Entry   2023
 US Treasury Note CUSIP 91282CFQ9
                                      Beginning Balance
                                                                          Morgan Purch
                                     01/31/2023           Journal Entry   1/23
                                     01/31/2023           Journal Entry   Adj 1/23
                                                                          Investments Feb
                                     02/28/2023           Journal Entry   2023
 US Treasury Note CUSIP 91282CFX4
                                      Beginning Balance
                                                                          Morgan Purch
                                     01/31/2023           Journal Entry   1/23
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                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023
 US TSY Note 4250 250C15
                                        01/31/2023           Journal Entry   Adj 1/23
                                                                             Morgan Stanley
                                        01/31/2023           Journal Entry   Jan 23
 Vaneck J.P. Morgan EM Local (EMLC)
SH 15
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23
                                        02/28/2023           Journal Entry   Sold 02/2023
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023
  Vanguard Short-Term Corporate
(VCSH)
                                        07/31/2023           Journal Entry

 Vista Energy SAB DE CV (VIST) SH 329
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23
                                        02/28/2023           Journal Entry   Sold 02/2023
 Wells Fargo Bk NA Sioux Falls SD CD
CUSIP 9497634H6
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023
 Wisdmtree Eemrg Mkt EX-ST OW
                                        07/31/2023           Journal Entry
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold
                                                                             8/23 Realized
                                        08/31/2023           Journal Entry   Loss
 Wisdomtree Enhanced Commodit
                                        07/31/2023           Journal Entry
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold
                                                                             8/23 Realized
                                        08/31/2023           Journal Entry   Loss
 WT BBRG DLR Bull FD
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase
                                        09/30/2023           Journal Entry   9/23 Stock Sales
Velanos Capital Receivable
                                        Beginning Balance

                                        05/02/2023           Deposit
                                                                             Funding
                                        07/31/2023           Journal Entry   Company A/R
                                        12/31/2023           Journal Entry   Velanos Capital
Warrant Investment
                                        Beginning Balance
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                                                                   Warrant
                               02/17/2023          Journal Entry   Purchase



                               03/28/2023          Expense



                               03/29/2023          Expense



                               06/09/2023          Expense



                               06/09/2023          Expense



                               06/09/2023          Expense



                               06/09/2023          Expense




                               06/09/2023          Expense
                               06/09/2023          Expense
                               06/12/2023          Expense



                               06/14/2023          Expense

                               06/20/2023          Expense
                                                                   Warrant
                               07/31/2023          Journal Entry   Purchase
                                                                   Warrant
                               12/31/2023          Journal Entry   Investment
                                                                   Warrant
                               12/31/2023          Journal Entry   Investment
Warren Law Group Investment
                               Beginning Balance
                                                                   Warren Law
                               12/31/2023          Journal Entry   Group
                                                                   Warren Law
                               12/31/2023          Journal Entry   Group
                               12/31/2023          Journal Entry   Velanos Capital
Due to Other Genie Entities
                               Beginning Balance
                               05/04/2023          Deposit

                               05/05/2023          Expense



                               07/12/2023          Deposit
                               12/31/2023          Journal Entry   Loan Closing
                               12/31/2023          Journal Entry   Refunds
Deferred Revenue - ICA
                               Beginning Balance
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              04/07/2023       Journal Entry   Tranche 1 #2716
              04/07/2023       Journal Entry   Tranche 1 #2704
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2665
                                               Tranche 1 Loan
              04/07/2023       Journal Entry   #2587
              04/07/2023       Journal Entry   Tranche 1 #2735
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2694
              04/07/2023       Journal Entry   Tranche 1 #2717
                                               1st Tranche
              04/07/2023       Journal Entry   #2658
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2611
                                               1st Tranche
              04/07/2023       Journal Entry   #2701
              04/07/2023       Journal Entry   Tranche 1 #2703
                                               1st Tranche
              04/10/2023       Journal Entry   #2695
                                               1st Tranche
              07/07/2023       Journal Entry   #2685
                                               1st Tranche
              07/28/2023       Journal Entry   Loan#1903
                                               1st Tranche
              08/28/2023       Journal Entry   Loan#2565
                                               Interest
              12/01/2023       Journal Entry   Loan#2646
                                               Interest
              12/07/2023       Journal Entry   Loan#2113

              12/07/2023       Journal Entry   Interest Loan#862
                                               Interest Loan
              12/07/2023       Journal Entry   #2399
                                               Interest
              12/07/2023       Journal Entry   Loan#1999
                                               Interest
              12/07/2023       Journal Entry   Loan#2213
                                               Interest
              12/07/2023       Journal Entry   Loan#2384
                                               Interest Loan
              12/07/2023       Journal Entry   #2465
                                               Interest Loan
              12/07/2023       Journal Entry   #1507
                                               Interest
              12/07/2023       Journal Entry   Loan#2270
                                               Interest
              12/07/2023       Journal Entry   Loan#2276
                                               Interest
              12/07/2023       Journal Entry   Loan#2364
                                               Interest
              12/07/2023       Journal Entry   Loan#2214
                                               Interest
              12/07/2023       Journal Entry   Loan#1858
                                               Interest
              12/07/2023       Journal Entry   Loan#2341
                                               Interest Loan
              12/07/2023       Journal Entry   #2056-1
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                                                                    Interest
                                12/09/2023          Journal Entry   Loan#2260
                                                                    Interest
                                12/10/2023          Journal Entry   Loan#2377
                                                                    Interest
                                12/16/2023          Journal Entry   Loan#2402
                                                                    Interest
                                12/16/2023          Journal Entry   Loan#2594-2
                                12/16/2023          Journal Entry   Interest 2594-1
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#1076
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#2665
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#2056-2
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#2014
Genie Investments II LLC Loan
                                                                    Interest June
                                06/30/2023          Journal Entry   2023
                                                                    Genie Invest II
                                12/31/2023          Journal Entry   A/P
ICA Payable
                                Beginning Balance




                                01/03/2023          Deposit



                                01/12/2023          Deposit




                                01/30/2023          Deposit




                                01/31/2023          Deposit
                                02/02/2023          Journal Entry   ICA Loan#2685




                                02/02/2023          Deposit



                                02/03/2023          Deposit



                                02/07/2023          Deposit
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              02/07/2023       Deposit




              02/07/2023       Deposit



              02/07/2023       Deposit



              02/07/2023       Deposit




              02/07/2023       Deposit
              02/08/2023       Journal Entry   ICA Loan#2695
              02/09/2023       Journal Entry   ICA Loan#2703
              02/10/2023       Journal Entry   ICA Loan#2704
              02/10/2023       Journal Entry   ICA Loan#2701
              02/10/2023       Journal Entry   ICA Loan#2706




              02/10/2023       Deposit




              02/10/2023       Deposit

              02/14/2023       Deposit




              02/16/2023       Deposit




              02/16/2023       Deposit




              02/16/2023       Deposit
              02/16/2023       Journal Entry   ICA Loan#2716
              02/16/2023       Journal Entry   ICA Loan#2717
              02/16/2023       Journal Entry   ICA Loan#2735
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              02/16/2023       Deposit



              02/27/2023       Deposit




              03/01/2023       Deposit

              03/06/2023       Deposit



              03/15/2023       Deposit

              03/23/2023       Deposit



              03/24/2023       Deposit
              03/31/2023       Deposit         1



              04/04/2023       Deposit
              04/07/2023       Journal Entry   Tranche 1 #2716
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2665
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2665
                                               Tranche 1 Loan
              04/07/2023       Journal Entry   #2587
                                               Tranche 1 Loan
              04/07/2023       Journal Entry   #2587
              04/07/2023       Journal Entry   Tranche 1 #2735
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2694
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2694
              04/07/2023       Journal Entry   Tranche 1 #2703
                                               1st Tranche
              04/07/2023       Journal Entry   #2701
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2611
                                               1st Tranche
              04/07/2023       Journal Entry   Loan#2611
                                               1st Tranche
              04/07/2023       Journal Entry   #2658
              04/07/2023       Journal Entry   Tranche 1 #2704
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                                          04/07/2023          Journal Entry   Tranche 1 #2706
                                          04/07/2023          Journal Entry   Tranche 1 #2717
                                                                              1st Tranche
                                          04/07/2023          Journal Entry   #2658

                                          04/10/2023          Deposit



                                          04/10/2023          Deposit
                                                                              1st Tranche
                                          04/10/2023          Journal Entry   #2695



                                          05/03/2023          Deposit



                                          05/03/2023          Deposit




                                          06/22/2023          Deposit
                                                                              1st Tranche
                                          07/07/2023          Journal Entry   #2685
                                                                              1st Tranche
                                          07/28/2023          Journal Entry   Loan#1903
                                                                              1st Tranche
                                          07/28/2023          Journal Entry   Loan#1903
                                                                              1st Tranche
                                          08/28/2023          Journal Entry   Loan#2565
                                                                              Interest 1055
                                          12/28/2023          Journal Entry   2023

Loan Account - Morgan Stanley Liquidity
Access Line Acct#xxx145861-290
                                          Beginning Balance
                                          01/03/2023          Journal Entry   Int on Loan 01/23
                                                                              Feb 23 Loan
                                          02/28/2023          Journal Entry   Interest
                                                                              June 2024
                                          03/31/2023          Journal Entry   Investments
                                          04/30/2023          Journal Entry   Loan Interest



                                          05/31/2023          Deposit
                                          05/31/2023          Journal Entry   Loan Interest
                                          06/30/2023          Journal Entry   Loan Interest



                                          07/20/2023          Deposit
                                          07/31/2023          Journal Entry   Interest July 2023
                                                                              Feb 25 Loan
                                          08/31/2023          Journal Entry   Interest
                                          09/30/2023          Journal Entry   Loan Interest
                                                                              Feb 27 Loan
                                          10/31/2023          Journal Entry   Interest
                                          11/02/2023          Journal Entry   Loan
                                          11/30/2023          Journal Entry   Loan Interest
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                               12/31/2023       Journal Entry   Loan Interest
Velanos Notes Payable
                                                                Funding
                               07/31/2023       Journal Entry   Company A/R
Bridge Interest Revenue




                               01/03/2023       Deposit

                               01/11/2023       Deposit




                               01/11/2023       Deposit




                               01/24/2023       Deposit




                               01/31/2023       Deposit



                               02/06/2023       Deposit




                               02/07/2023       Deposit




                               02/10/2023       Deposit



                               02/10/2023       Deposit



                               02/13/2023       Deposit




                               02/22/2023       Deposit




                               02/27/2023       Deposit




                               03/09/2023       Deposit

                               03/09/2023       Deposit

                               03/20/2023       Deposit
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                              03/22/2023       Deposit



                              03/29/2023       Deposit

                              05/31/2023       Deposit

                              06/01/2023       Deposit



                              07/19/2023       Expense
Commission Revenue
                                                               1st Tranche
                              04/07/2023       Journal Entry   Loan#2694
                                                               1st Tranche
                              04/07/2023       Journal Entry   #2701
                                                               1st Tranche
                              04/07/2023       Journal Entry   Loan#2611
                              04/07/2023       Journal Entry   Tranche 1 #2716
                              04/07/2023       Journal Entry   Tranche 1 #2703
                                                               1st Tranche
                              04/07/2023       Journal Entry   Loan#2665
                              04/07/2023       Journal Entry   Tranche 1 #2717
                              04/07/2023       Journal Entry   Tranche 1 #2704
                              04/07/2023       Journal Entry   Tranche 1 #2735
                              04/07/2023       Journal Entry   Tranche 1 #2706
                                                               1st Tranche
                              04/10/2023       Journal Entry   #2695
                                                               1st Tranche
                              08/28/2023       Journal Entry   Loan#2565
Due Diligence Revenue



                              01/03/2023       Deposit
                              01/03/2023       Journal Entry   Due Diligence




                              01/04/2023       Deposit




                              01/04/2023       Deposit




                              01/12/2023       Deposit




                              01/26/2023       Deposit
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              01/30/2023       Deposit
              01/31/2023       Journal Entry   Due Diligence




              01/31/2023       Deposit



              02/01/2023       Deposit



              02/03/2023       Deposit

              02/06/2023       Expense




              02/06/2023       Deposit




              02/06/2023       Deposit




              02/06/2023       Deposit




              02/10/2023       Deposit




              02/14/2023       Deposit




              02/28/2023       Deposit
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                              03/02/2023       Deposit




                              03/03/2023       Deposit

                              03/22/2023       Deposit

                              03/22/2023       Deposit



                              03/27/2023       Expense
                              03/27/2023       Expense

                              03/27/2023       Deposit
                              03/28/2023       Deposit

                              03/29/2023       Deposit



                              04/05/2023       Expense



                              04/06/2023       Deposit

                              04/12/2023       Deposit



                              04/12/2023       Deposit

                              04/18/2023       Deposit



                              04/24/2023       Expense
                              04/26/2023       Expense



                              04/26/2023       Expense

                              05/02/2023       Deposit



                              05/03/2023       Expense



                              05/05/2023       Expense



                              07/18/2023       Expense
Termination Refund
                                                               Warrant
                              02/17/2023       Journal Entry   Purchase

                              02/17/2023       Expense
                              03/07/2023       Expense
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                              04/10/2023       Expense



                              04/17/2023       Expense



                              05/08/2023       Expense



                              05/15/2023       Expense



                              06/01/2023       Expense



                              06/28/2023       Expense

                              06/29/2023       Expense



                              07/19/2023       Expense
                                                               Warrant
                              07/31/2023       Journal Entry   Purchase
                              07/31/2023       Expense
                              08/27/2023       Journal Entry   Bank Acct Adj
                              12/31/2023       Journal Entry   Refunds
                                                               Warrant
                              12/31/2023       Journal Entry   Investment
Advertising & Promotion
Commission Expense

                              01/03/2023       Expense

                              01/04/2023       Expense

                              01/12/2023       Expense

                              01/12/2023       Expense

                              01/20/2023       Expense

                              01/20/2023       Expense

                              01/30/2023       Expense

                              01/30/2023       Expense

                              02/01/2023       Expense

                              02/01/2023       Expense

                              02/06/2023       Expense

                              02/06/2023       Expense

                              02/08/2023       Expense

                              02/15/2023       Expense
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                               02/23/2023       Expense

                               03/02/2023       Expense

                               03/07/2023       Expense
                               04/14/2023       Expense
Compliance Expense
                               02/09/2023       Expense
                               04/04/2023       Deposit
                               04/19/2023       Expense
Contractors
                               03/17/2023       Expense
Legal & Professional Fees
                               02/24/2023       Expense
 Advisory Fees
                                                                Morgan Stanley
                               01/31/2023       Journal Entry   1/23
                               02/28/2023       Journal Entry   Adj 2/23
                               02/28/2023       Journal Entry   Div/Fees 2/23
                               03/31/2023       Journal Entry   Dividends Mar 23
                               04/30/2023       Journal Entry   Dividends 4/23
                               05/31/2023       Journal Entry   Dividends 5/23
                                                                Interest June
                               06/30/2023       Journal Entry   2023
                               07/31/2023       Journal Entry   Cash Investment
                               08/31/2023       Journal Entry   Cash Investment
                                                                9/23 Cash
                               09/30/2023       Journal Entry   Investments
                               10/31/2023       Journal Entry   Cash Investments
                               11/30/2023       Journal Entry   Cash Investments
                               12/31/2023       Journal Entry   Cash Investment
 Legal Expense



                               01/13/2023       Expense

                               03/02/2023       Expense
                               04/03/2023       Expense
                               04/19/2023       Expense
                               04/21/2023       Expense
                               05/16/2023       Expense
                               06/23/2023       Expense
                               06/26/2023       Expense
                               06/28/2023       Expense
                               07/25/2023       Expense
                               07/25/2023       Expense
                               07/27/2023       Expense
Loan Closing Settlement
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                          04/07/2023       Expense
                          04/07/2023       Expense



                          04/07/2023       Expense



                          04/07/2023       Expense



                          04/07/2023       Expense



                          04/07/2023       Expense



                          04/07/2023       Expense




                          04/07/2023       Deposit

                          04/07/2023       Expense



                          04/07/2023       Expense



                          04/07/2023       Expense



                          04/07/2023       Expense
                          04/10/2023       Expense



                          04/13/2023       Expense



                          04/17/2023       Expense
                          06/13/2023       Expense
                          12/31/2023       Journal Entry   Loan Closing
Dividends
                                                           Morgan Stanley
                          01/31/2023       Journal Entry   1/23
                          02/28/2023       Journal Entry   Adj 2/23
                          02/28/2023       Journal Entry   Div/Fees 2/23
                          02/28/2023       Journal Entry   Adj 2/23
                          03/31/2023       Journal Entry   Dividends Mar 23
                          04/30/2023       Journal Entry   Dividends 4/23
                          05/31/2023       Journal Entry   Dividends 5/23
                          05/31/2023       Journal Entry   Dividends 5/23
                                                           Interest June
                          06/30/2023       Journal Entry   2023
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                                                                Interest June
                               06/30/2023       Journal Entry   2023
                               07/31/2023       Journal Entry   Cash Investment
                               07/31/2023       Journal Entry   Cash Investment
                               08/31/2023       Journal Entry   Cash Investment
                               08/31/2023       Journal Entry   Cash Investment
                                                                9/23 Cash
                               09/30/2023       Journal Entry   Investments
                                                                9/23 Cash
                               09/30/2023       Journal Entry   Investments
                               10/31/2023       Journal Entry   Cash Investments
                               11/30/2023       Journal Entry   Cash Investments
                               12/31/2023       Journal Entry   Cash Investment
Interest - Morgan Stanley
                                                                Morgan Stanley
                               01/31/2023       Journal Entry   1/23
                               02/28/2023       Journal Entry   Div/Fees 2/23
                               02/28/2023       Journal Entry   Adj 2/23
                               05/31/2023       Journal Entry   Dividends 5/23
                                                                Interest June
                               06/30/2023       Journal Entry   2023
                                                                9/23 Cash
                               09/30/2023       Journal Entry   Investments
 Interest Earned - ICA
                               04/07/2023       Journal Entry   Tranche 1 #2706
                                                                Interest
                               12/01/2023       Journal Entry   Loan#2646

                               12/07/2023       Journal Entry   Interest Loan#862
                                                                Interest Loan
                               12/07/2023       Journal Entry   #2399
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2364
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2270
                                                                Interest Loan
                               12/07/2023       Journal Entry   #1507
                                                                Interest Loan
                               12/07/2023       Journal Entry   #2465
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2384
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2276
                                                                Interest Loan
                               12/07/2023       Journal Entry   #2056-1
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2341
                                                                Interest
                               12/07/2023       Journal Entry   Loan#1858
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2214
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2113
                                                                Interest
                               12/07/2023       Journal Entry   Loan#2213
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                                                                      Interest
                                     12/07/2023       Journal Entry   Loan#1999
                                                                      Interest
                                     12/09/2023       Journal Entry   Loan#2260
                                                                      Interest
                                     12/10/2023       Journal Entry   Loan#2377
                                                                      Interest
                                     12/16/2023       Journal Entry   Loan#2594-2
                                     12/16/2023       Journal Entry   Interest 2594-1
                                                                      Interest
                                     12/16/2023       Journal Entry   Loan#2402
                                                                      Interest 1055
                                     12/28/2023       Journal Entry   2023
                                                                      Interest
                                     12/31/2023       Journal Entry   Loan#2665
                                                                      Interest
                                     12/31/2023       Journal Entry   Loan#1076
                                                                      Interest
                                     12/31/2023       Journal Entry   Loan#2014
                                                                      Interest
                                     12/31/2023       Journal Entry   Loan#2056-2
Net Unsettled Purch/Sales - Morgan
Stanley xxx290
                                                                      Feb 28 Loan
                                     07/31/2023       Journal Entry   Interest
                                     08/31/2023       Journal Entry
                                     12/31/2023       Journal Entry   Cash Investment
Realized Gain
                                                                      Investments
                                     03/31/2023       Journal Entry   03/23
                                                                      Investments May
                                     05/31/2023       Journal Entry   23
                                                                      Realized
                                     07/31/2023       Journal Entry   Gains/Loss
                                                                      Realized
                                     09/30/2023       Journal Entry   Gains/Loss
Refunds from Stocks
                                     10/31/2023       Journal Entry   Cash Investments
                                     11/30/2023       Journal Entry   Cash Investments
Interest Expense - Loan
                                     01/03/2023       Journal Entry   Int on Loan 01/23
                                                                      Feb 23 Loan
                                     02/28/2023       Journal Entry   Interest
Interest Expense - Morgan Stanley
                                                                      June 2024
                                     03/31/2023       Journal Entry   Investments
                                     04/30/2023       Journal Entry   Loan Interest
                                     05/31/2023       Journal Entry   Loan Interest
                                     06/30/2023       Journal Entry   Loan Interest
                                     07/31/2023       Journal Entry   Interest July 2023
                                                                      Feb 25 Loan
                                     08/31/2023       Journal Entry   Interest
                                     09/30/2023       Journal Entry   Loan Interest
                                                                      Feb 27 Loan
                                     10/31/2023       Journal Entry   Interest
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                                     11/30/2023       Journal Entry   Loan Interest
                                     12/31/2023       Journal Entry   Loan Interest
Realized Loss
                                     01/31/2023       Journal Entry   Adj 1/23
                                                                      Investments Feb
                                     02/28/2023       Journal Entry   2023
                                     07/31/2023       Journal Entry   Realized Loss
                                                                      8/23 Realized
                                     08/31/2023       Journal Entry   Loss
                                                                      Realized
                                     09/30/2023       Journal Entry   Gains/Loss
                                                                      Realized
                                     09/30/2023       Journal Entry   Gains/Loss
                                                                      12/23 Stock
                                     12/31/2023       Journal Entry   Sales
Taxes
 Federal Tax Withholding
                                     07/31/2023       Journal Entry   Cash Investment
                                     08/31/2023       Journal Entry   Cash Investment
 Total for Federal Tax Withholding


                                                                                                       Tuesday, A
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                                       Genie Investments NV
                                    Transactions over +/- $1000
                                        January - December 2023


                 Name




McMann Commercial Lending



Kristin Stegent or Ryan S Stegent




WW LLC
MM Acctxxx2222




Dajo Properties LLC

Morgan Stanley & Co
MM xxx3350
MM Acctxxx2222




Kim Boudreau
MM xxx3350

Soteria Group LLC
MM xxx3350




Oregon Business Management Group




Better Methods LLC
MM xxx3350
MM Acctxxx9701




Kim Boudreau

McMann Commercial Lending

Soteria Group LLC
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Fehu Capital, Inc.




Wrex & Whitney Lindsay



Spiegel and Utrera PA

Soteria Group LLC

Second Chance Assets LLC




Christopher J Lovett

Soteria Group LLC

McMann Commercial Lending




Chalanco Funding, LLC




Lea J Muse




Humane Care 7 Days Medical Group
MM Acctxxx2222




Half A Dime Ltd




Hellosun LLC

Soteria Group LLC

McMann Commercial Lending



Travis V Nokes
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Winslow Homes LLC



Katrina A Richter



Deborah M Lee



Deborah M Lee




Beverly R Yoneyama




Robert J. Wrisley




Charles B Stringer
MM xxx3350

McMann Commercial Lending
MM Acctxxx9701
Corporate Filings LLC

Second Chance Assets LLC
MM xxx3350

Klie Enterprises LLC




ITYS LLC



Anon Energy LLC



Tical Capital Inc
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Degen LLC



Grindstone Inc




Half A Dime Ltd




Travis V Nokes
MM Acctxxx2222

McMann Commercial Lending
MM xxx3350
Parasec




Red Balloon Capital LLC




Ameiva LLC




Holland Energy Advisors LLC




Mako LLC




MM xxx3350

Vick Enterprise LLC
MM Acctxxx9701
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MM Acctxxx9701
MM xxx3350

McMann Commercial Lending




Schein Realty LLC




Ryan McGovern




Fratelli LLC




Blais Cunningham & Crowe Chester

Brian Nichols
MM Acctxxx2222




Limitless Investment Group
Znoc Enterprises LLC
MM xxx3350
Shaver Law Group LLC
MM Acctxxx2222



Financial Services LLC




Christopher J Lovett




Robin P Allen




Archer Capital Investments LLC
MM Acctxxx2222
MM Acctxxx2222
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Morgan Stanley & Co

Warren Law Group

McMann Commercial Lending
MM xxx3350
MM Acctxxx2222




VJT LLC
MM Acctxxx9701
MM xxx3350




Biassess Strategies LLC
MM Acctxxx2222
MM Acctxxx9701

TAJ Construction LLC
Sun & Shield

Second Chance Assets LLC




Morgan Stanley & Co




Adaptive Medical Technologies LLC

Belle Maison Realty LLC
MM Acctxxx2222



Rowehl & Russo Properties LLC
MM Acctxxx2222
Fiverr

Zon Hospitality Corp

John Wilson

Stringer Farms Inc

Iron Dragon Holdings
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Fratelli LLC



Michele Ruiz Productions LLC




McMann Commercial Lending
McMann Commercial Lending



Cheyenne Chipoletti
2814



Cheyenne Chipoletti

Foster Group LLC



My Dragonfly Home Solution, LLC


Spiegel and Utrera PA
Parasec



Frank H Chu



Second Chance Assets LLC



Knife & Spirit LLC

Rockshop LLC



Kyle Seyboth



Katrina A Richter



Degen LLC
Chalanco Funding, LLC



Global Webxventures LLC



BJP Investments LLC



Schein Realty LLC
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The Washington Trust Co



Ten Rod Road LLC



Casual Skillet



ITYS LLC



Global Webxventures LLC

Ajer LLC

Wynn-Hoff Air, Inc.
Grindstone Inc

Acres and Royalty LLC



Camila Gutierrez



Mako LLC
Second Chance Assets LLC



BSLN Services LLC




Biassess Strategies LLC


Spiegel and Utrera PA
Parasec
Spiegel and Utrera PA



McMann Commercial Lending



McMann Commercial Lending
McMann Commercial Lending

JC & TL Corp
Velanos Principal Capital Inc.



McMann Commercial Lending
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North Haven Lodging Partners LLC



Wallingford Lodging Partners LLC




McMann Commercial Lending



Oil Holdings Inc



Dres Lodging LLC
Spiegel and Utrera PA

McMann Commercial Lending



Morgan Stanley

McMann Commercial Lending



1P Ventures, LLC

Genies Angels



Britain Sorensen
Tomowave Laboratories Inc




Jared Thompson or Diana A Hernandez



Kit McCall Miller



Derek and Chrystal Chipoletti



Catalyst Corp
Cheyenne Chipoletti
SMB Real Estate Solutions



Richard Andre Genserensen Living Trust

Lewis Gray
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Prym Builders Group LLC
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA



PRPRTY LLC




Morgan Stanley

Verco Group (JMP Group)




Morgan Stanley



Casual Skillet



Winslow Homes LLC



Morgan Stanley



Biassess Strategies LLC



Jack Pease Rocky Ford Co

Laneaxis, Inc.



Farming CO Inc.




Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA



ODP Solutions DBA Sky Systemz




MM Acctxxx9701


MM Acctxxx9701
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MM Acctxxx9701
MM Acctxxx9701


MM Acctxxx9701
MM Acctxxx9701




MM xxx3350
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MM xxx3350
MM xxx3350
MM xxx3350




MM Acctxxx2222
MM Acctxxx2222

Kristin Stegent or Ryan S Stegent




Oregon Business Management Group


MM Acctxxx2222
MM Acctxxx2222



Global Verse Holdings LLC



Nutra-Acres LLC
MM Acctxxx2222


MM Acctxxx2222
MM Acctxxx2222
MM Acctxxx2222
MM Acctxxx2222
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MM Acctxxx2222
MM Acctxxx2222
MM Acctxxx2222
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Genies Angels




Casual Skillet



Winslow Homes LLC

Laneaxis, Inc.
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Morgan Stanley & Co




Morgan Stanley & Co




Morgan Stanley & Co
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Morgan Stanley




Morgan Stanley
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Velanos Principal Capital Inc.
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Cheyenne Chipoletti



Cheyenne Chipoletti



Britain Sorensen



Catalyst Corp



Kit McCall Miller



Derek and Chrystal Chipoletti




Jared Thompson or Diana A Hernandez
Tomowave Laboratories Inc
Cheyenne Chipoletti



Richard Andre Genserensen Living Trust

Lewis Gray




Morgan Stanley
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Dajo Properties LLC



Fehu Capital, Inc.




Chalanco Funding, LLC




Half A Dime Ltd




Winslow Homes LLC



Katrina A Richter



Grindstone Inc
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ITYS LLC




Degen LLC



Anon Energy LLC



Tical Capital Inc




Half A Dime Ltd




Mako LLC




Red Balloon Capital LLC

Vick Enterprise LLC




Ryan McGovern




Blais Cunningham & Crowe Chester




Fratelli LLC
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Schein Realty LLC



Financial Services LLC




Archer Capital Investments LLC

TAJ Construction LLC



Rowehl & Russo Properties LLC

Iron Dragon Holdings



Fratelli LLC




Frank H Chu
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Ajer LLC



Global Webxventures LLC




Wallingford Lodging Partners LLC



North Haven Lodging Partners LLC




Prym Builders Group LLC




Morgan Stanley
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WW LLC

Kristin Stegent or Ryan S Stegent




Kim Boudreau




Oregon Business Management Group




Hellosun LLC



Deborah M Lee




Travis V Nokes




Ameiva LLC



Global Verse Holdings LLC



Nutra-Acres LLC




Limitless Investment Group




Christopher J Lovett




Adaptive Medical Technologies LLC

Belle Maison Realty LLC

Zoomeral
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Stringer Farms Inc



My Dragonfly Home Solution, LLC

McMann Commercial Lending

McMann Commercial Lending



Farming CO Inc.




Kristin Stegent or Ryan S Stegent




Kim Boudreau




Oregon Business Management Group




Wrex & Whitney Lindsay




Christopher J Lovett
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Lea J Muse




Humane Care 7 Days Medical Group



Travis V Nokes



Deborah M Lee

McMann Commercial Lending




Robert J. Wrisley




Charles B Stringer




Beverly R Yoneyama




Holland Energy Advisors LLC




Robin P Allen
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VJT LLC




Biassess Strategies LLC

John Wilson

Zon Hospitality Corp



McMann Commercial Lending
McMann Commercial Lending

Michele Ruiz Productions LLC
2814

Foster Group LLC



Second Chance Assets LLC



Knife & Spirit LLC

Acres and Royalty LLC



Camila Gutierrez

Biassess Strategies LLC



McMann Commercial Lending
McMann Commercial Lending



McMann Commercial Lending

JC & TL Corp



McMann Commercial Lending



McMann Commercial Lending



Biassess Strategies LLC




Brian Nichols
Sun & Shield
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Wynn-Hoff Air, Inc.



BSLN Services LLC



Oil Holdings Inc



Dres Lodging LLC



1P Ventures, LLC



PRPRTY LLC

Verco Group (JMP Group)



Jack Pease Rocky Ford Co



ODP Solutions DBA Sky Systemz




McMann Commercial Lending

Soteria Group LLC

McMann Commercial Lending

Soteria Group LLC

Second Chance Assets LLC

Soteria Group LLC

McMann Commercial Lending

Soteria Group LLC

Soteria Group LLC

McMann Commercial Lending

Second Chance Assets LLC

Klie Enterprises LLC

McMann Commercial Lending

McMann Commercial Lending
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Znoc Enterprises LLC

McMann Commercial Lending

Second Chance Assets LLC
Second Chance Assets LLC


Parasec
Parasec
Parasec


Fiverr


Shaver Law Group LLC




Spiegel and Utrera PA

Warren Law Group
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
Spiegel and Utrera PA
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Global Webxventures LLC
Chalanco Funding, LLC



ITYS LLC



Casual Skillet



BJP Investments LLC



Schein Realty LLC



Ten Rod Road LLC




The Washington Trust Co

Rockshop LLC



Kyle Seyboth



Katrina A Richter



Degen LLC
Grindstone Inc



Mako LLC




SMB Real Estate Solutions
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             Tuesday, Apr 02, 2024 12:04:14 PM GMT-7 - Accrual Basis
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      Genie Investments NV
   Transactions over +/- $1000
           January - December 2023


                                       Memo/Description




01/04 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0104B1Qgc08C038194 Trn: 3505073004Es
Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184

Ref: "Due Diligence" User ID 2634 Trn: 3910133003Es
Fedwire Credit Via: First Interstate Bk of Billings NA/092901683 B/O: Ww LLC
99030 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B First Intrst Obi=Bri Dge Payment Zoomeral User
Imad: 0103Gmqfmp01021472 Trn: 0859470003Ff
Online Transfer From Mma ...2222 Transaction#: 16194833027
Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Dajo
Honey Brook PA 19344 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral
2623 Bbi=/Bnf/F Unds Being Sent To Security A Ccoun T Imad: 0103Mmqfmp3W000395
01/03 Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley Ref: For
Further Credit To Genie Investments NV, Llcaccount Number: 2551457 12290/Time/09:48
Online Transfer From Mma ...3350 Transaction#: 16208631735
01/04 Online Transfer To Mma ...2222 Transaction#: 16208604948
Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Due D Illigence User ID 2633
0104F2Qcz00C001051 Trn: 0336340004Ff
01/04 Online Transfer To Mma ...3350 Transaction#: 16208519061
01/04 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0104B1Qgc08C038368 Trn: 3507093004Es
01/04 Online Transfer To Mma ...3350 Transaction#: 16208537138
Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management
Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=230106030664 Obi=Due Dil Igence Loan
Client Due D Iligen Ce Zoomeral User ID 2627 Bbi=/Chgs/USD0,00/ Imad:
0106I1Q73Agc002839 Trn: 0554720006Ff
01/06 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

Baltimore MD 21231 US Ref: With Further Credit To- Better Methods LLC, Account Number-
255-146085 -290/Bnf/With Further Credit To- Be Ttermethods LLC, Account Number-
Online Transfer From Mma ...3350 Transaction#: 16224030417
Online Transfer From Mma ...9701 Transaction#: 16224025733
Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Ica U Ser ID 2633 Imad:
0111F2Qcz00C002087 Trn: 0560090011Ff
01/12 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0112B1Qgc08C015196 Trn: 3261203012Es
01/12 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0112B1Qgc04C005166 Trn: 3262383012Es
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Book Transfer Credit B/O: Fehu Capital, Inc. Houston TX 77035-6007 US Ref:

Trn: 3132403012Es
Fedwire Credit Via: Mountain America Fcu/324079555 B/O: Wrex & Whitney
Surprise AZ 85388 USA Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Mtn Am CU Sl Obi=Due Diligence
User ID: 26 43 Imad: 0118Qmgft015001162 Trn: 0689410018Ff
01/13 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Spiegel And Ultera
PA EFT San Francisco CA 94104 US Ref: Legal Fees And 5K For Retainer/Time/11:27 Imad:
0113B1Qgc01C005756 Trn: 3320903013Es
01/20 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0120B1Qgc08C031822 Trn: 3440903020Es
01/20 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
Assets LLC Scottsdale AZ 85260 US Imad: 0120B1Qgc06C006996 Trn: 3439053020Es
Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=Mmnxb0Vqgwpjtags Obi=Due Diligence
Imad: 0126Mmqfmpgh001736 Trn: 0402480026Ff
01/30 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0130B1Qgc04C006044 Trn: 3390113030Es
01/30 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0130B1Qgc06C012183 Trn: 3388473030Es
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Chalanco Funding
Lancaster PA 17601 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
US/Ac-000000 008522 Rfb=Ow00002902806352 Obi=Fbo Chalanco Funding
Bbi=/Chgs/USD0,00/ Imad: 0130I1B7032R005591 Trn: 0250760030Ff
Fedwire Credit Via: Capital One, NA/056073502 B/O: Lea J Muse Chicago,IL,60619,US
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=Mm8Ucjvwykdgky6C Obi=Ret Ention Fee Imad: 0130Mmqfmpgh002743
0604710030Ff

25,000.00

Trn:
Chips Credit Via: Bank of America, N.A./0959 B/O: Humane Care 7 Days Medical
Ica 926472656 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000008522 Org=/0 00932769339 CA 926472656 US Ogb=Ban K of
N.A. New York NY US O Bi=POP Trade Related Due Diligence - Z/Oomeral User
Bbi Ssn: 0631066 Trn: 1388090031Fc
Online Transfer From Mma ...2222 Transaction#: 16424125177
Foreign Remittance Credit B/O: JPMorgan Chase Bank National Columbus OH
Org:/0000000265580279 Half A Dime Ltd. Ogb: Atb Financial 10020 100 Street
Ref:/Ocmt/Cad100060,00/Exch/1.351200000/Cntr/69115616/Acc/Down Payment
Loan/Ins/Royccat2 Trn: 7442800030Re
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Heliosun LLC Goodyear,
85338-1585 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=0006494030905152 Obi=Bri Dge Payment Bridge
Bbi=/Chg S/USD0,00/ Imad: 0131I1B7032R017716 Trn: 0820350031Ff
02/01 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0201B1Qgc06C003480 Trn: 3175203032Es
02/01 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0201B1Qgc07C003067 Trn: 3174843032Es
Credit Via: America First Federal Credit Union/324377516 B/O: Travis
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=O/B Amer First F Obi=Due Diligence Application Fee Due D IL
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Fedwire Credit Via: Space Coast Credit Union/263177903 B/O: Winslow Homes
Smyrna Beach FL 32168-5334 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
89502-1643 US/Ac-000000 008522 Rfb=O/B Space Coast Obi=Ica Zoomeral
Imad: 0202Gmqfmp01004817 Trn: 0331440033Ff

LLC. New 2,575.00
Reno NV
User ID 2685
Fedwire Credit Via: Members 1St Federal Credit Union/231382241 B/O: Katrina
Willow Street PA 17584-9210 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
89502-1643 US/Ac-000000 008522 Rfb=Jjhk Imad: 0203Gmqfmp01020488 Trn:
Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/0202900838318 953 Trn: 3230850034Ez
Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/02031035671461 82 Trn: 0085920037Ez
Chips Credit Via: Bank of America, N.A./0959 B/O: Beverly R Yoneyama Sammamish,
98074, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
Org=/0 00068417427 Sammamish, WA, 98074, U S Ogb=Bank of America, N.A.
K NY US Obi=Edge Development Retent Ion Fee Bbi=/Chgs/USD0,/ Ssn: 0220597
0532540037Fc

WA, 7,500.00
New Yor
Trn:
Fedwire Credit Via: Canandaigua National Bank/022303659 B/O: Robert J. Wrisley
Rochester, NY 14626-1007 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Natl Cananda Obi=Due Diligence
2668 Imad: 0206Qmgft015000472 Trn: 0371320037Ff
Fedwire Credit Via: Amarillo National Bank/111300958 B/O: Charles B Stringer
79029-1084 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Amarillo Nat Obi=Ref : Due Diligence Fee For
S At LLC Care of Blake Stringer Imad: 0206Mmqfmpdy000032 Trn: 0252670037Ff

Dumas TX 40,000.00
Nutra/A
02/08 Online Transfer To Mma ...3350 Transaction#: 16511413023
02/06 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Ref:/Bnf/Due Diligence Imad:
02/08 Online Transfer To Mma ...9701 Transaction#: 16511419601
CORPORATE FILINGS LLC XXX-XXXXXXX WY 05/04
02/06 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
Assets LLC Scottsdale AZ 85260 US Imad: 0206B1Qgc07C033684 Trn: 3589083037Es
02/08 Online Transfer To Mma ...3350 Transaction#: 16511421474
02/06 Online Domestic Wire Transfer Via: County Clearfield/031306278 A/C: Klie Enterprises
LLC Meadville PA 16335 US Imad: 0206B1Qgc06C009275 Trn: 3591803037Es
Chips Credit Via: Bank of America, N.A./0959 B/O: Itys, LLC Swansea, MA, 02777,
Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/4
66009102941 Swansea, MA, 02777, US Ogb=Bank of America, N.A. New York
Obi=Ica ID 2703 Bbi=/Chgs/USD 0,/ Ssn: 0434510 Trn: 1003730040Fc

US Ref: 20,075.00
NY US
Book Transfer Credit B/O: Anon Energy, LLC Cedar Hills UT 84062-8016 US

2690/Bnf/Ica : Zoomeral User ID 2690 Trn: 3426213038Es
Fedwire Credit Via: Bank Fund Staff Fcu/254074170 B/O: 1/Arnold J Ainsley
FL 33897 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Bk Staff Fcu Obi=Nor Tical Capital
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Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Degen
Pawtucket, RI 02860-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investment
Imad: 0210Mmqfmpu6000031 Trn: 0526980041Ff
Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
Org:/5307956034 Grindstone Incorporated Ogb: Aba/043000096 Pnc Bank, N.A.
Zoomeral ID 2695 Brian A Parnell/Ins/Aba/043000096Pncbank/Ref/2328 K0922Epl1Xvk
Chips Credit Via: Bank of America, N.A./0959 B/O: Half A Dime Ltd. T0H 0C0
Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/0
000000265580279 T0H 0C0 CA Ogb=Atb Financial Edmonton Canada CA Bbi=/C
Hgs/USD0,/Chgs/USD0,/Ocmt/USD25974, 31/Rec/Down Payment For Loan Ssn:
Trn: 1116640040Fc
Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Travis
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=O/B Amer First F Obi=Bri Dge Payment Imad: 0207L4B74L2C000064
0385410038Ff

V Nokes US 150,000.00
Trn:
02/14 Online Transfer To Mma ...2222 Transaction#: 16573556073
02/08 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0208B1Qgc05C002827 Trn: 3137783039Es
02/14 Online Transfer To Mma ...3350 Transaction#: 16573561351
02/15 Parasec 916-576-7000 CA Card 9242
Chips Credit Via: Bank of America, N.A./0959 B/O: Red Balloon Capital, LLC
Providence, RI, 02914, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000008522 Org=/4 66008618779 East Providence, RI, 02 914, US
America, N.A. N Ew York NY US Obi=Ica ID 2701 Bbi=/Chgs/USD0,/ Ssn: 0505917
1204720041Fc

20,075.00

Ogb=Bank of
Trn:
Fedwire Credit Via: Zions Bancorporation N.A./124000054 B/O: Ameiva LLC
Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
Rfb=O/B Zions Bancor Obi=Bri Dge Payment Zoomeral User ID: 27 32 Imad:
0210L4B74B3C002737 Trn: 0823970041Ff
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Holland Energy
Waller, TX 77484-9548 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=0068543044573523 Obi=Due Diligence
Diligence Zoomera L User ID 2673 Bbi=/Chgs/USD0,00/Bnf/Due Diligence Zoo
0213I1B7031R016495 Trn: 0814080044Ff

LLC 40,000.00
NV
Due
Imad:
Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Mako Enterprises
LLC Lincoln, RI 02865-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investments
Imad: 0210Mmqfmpu6000032 Trn: 0529740041Ff
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Michael Ehinger
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=Ow00002949767345 Obi=Due Dillegence User ID 2733 Expansi
Investments Bbi=/Chgs/USD0,00/ Imad: 0214I1B7031R011581 Trn: 0586460045Ff
Online Transfer From Mma ...3350 Transaction#: 16573606498
Book Transfer Credit B/O: Vick Enterprise, LLC Albany CA 94706-5034 US Ref:
Zoomeral User ID: 2629/Bnf/Ica Zoomeral User ID 2629 Trn: 3495453047Es
Online Transfer From Mma ...9701 Transaction#: 16584061434
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02/14 Online Transfer To Mma ...9701 Transaction#: 16577154750
02/14 Online Transfer To Mma ...3350 Transaction#: 16573576883
02/15 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0215B1Qgc05C002105 Trn: 3068493046Es
Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Re: Ica
2717 Ref: Michael S Ch Ein, Schein Realty LLC Imad: 0216Mmqfmpr0000039
0659450047Ff

& 20,075.00
NV
- User:
Trn:
Fedwire Credit Via: Coastal1 Credit Union/211590260 B/O: Ryan Mcgovern North
MA 02760-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Coastal1 CU Obi=Ica Zoomeral User ID:2735
0216Qmgft012000882 Trn: 0633310047Ff
Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Fratelli
Methuen, MA 01844 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral User ID 2739
0222Mmqfmp3W000004 Trn: 0155600053Ff
Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Ica -
Ref: Michael Schei N, 527 Ten Rod Rd,LLC Imad: 0216Mmqfmpr0000038 Trn:
02/17 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Brian Nichols
Wilmore KY 40390 US Ref:/Time/12:01 Imad: 0217B1Qgc08C025704 Trn: 3304113048Es
02/18 Online Transfer To Mma ...2222 Transaction#: 16616026316
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Limitless Investment
LLC UT 84115 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=Ow00002969035406 Obi=Bri Dge Payment Zoomeral
273 3 Bbi=/Chgs/USD0,00/ Imad: 0222I1B7033R003400 Trn: 0083150053Ff
02/23 Online Domestic Wire Transfer A/C: Znoc Enterprises, LLC Wellsville UT 84339-9635 US
02/24 Online Transfer To Mma ...3350 Transaction#: 16664295448
02/23 Shaver Law Group LLC 404-3459449 GA Card 9242
02/24 Online Transfer To Mma ...2222 Transaction#: 16664297946
Book Transfer Credit B/O: Pd&C Financial Services, LLC Sugar Land TX 77479-8846

Ref: Ica Zoomeral User ID 2625 Trn: 3631213059Es
Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=Mmj1272Dtwgsbzzp Obi=Ica 2678 Imad:
0227Mmqfmpgh000423 Trn: 0103310058Ff
Fedwire Credit Via: UBS Ag Stamford Branch/026007993 B/O: Robin P Allen
P Allen5258-2913 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=00768720230228Pw Obi=Due Diligence User ID
0228B6B7Ik1C005398 Trn: 1010960059Ff
Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Archer
Investments LLC US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
US/Ac-000000 008522 Rfb=O/B Amer First F Obi=Dow N Payment On A Loan
Zoomera L User ID: 2649 Imad: 0302L4B74L2C000154 Trn: 0668120061Ff

Capital 200,075.00
89502-1643
Ica,
Online Transfer From Mma ...2222 Transaction#: 16712923945
03/01 Online Transfer To Mma ...2222 Transaction#: 16708737091
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03/07 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV, Account Numbe R- 2

55-146085-290/Time/03:49 Imad: 0307B1Qgc02C000525 Trn: 3001393066Es
03/02 Online Domestic Wire Transfer Via: Signature Bank/026013576 A/C: Warren Law Group
Iola New York NY 10017 US Imad: 0302B1Qgc02C005602 Trn: 3347103061Es
03/02 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0302B1Qgc01C001500 Trn: 3070453061Es
03/03 Online Transfer To Mma ...3350 Transaction#: 16733382986
03/03 Online Transfer To Mma ...2222 Transaction#: 16733416827
Fedwire Credit Via: Capital One, NA/056073502 B/O: Vtj LLC Leander,TX,78641,US
Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
Rfb=Sbbmmahaeq96Deig Obi=Vjt LLC Cai Account Imad: 0302Mmqfmpgh000888
0204830061Ff
Online Transfer From Mma ...9701 Transaction#: 16719908316
Online Transfer From Mma ...3350 Transaction#: 16761401019
Fedwire Credit Via: City National Bank/122016066 B/O: Biassess Strategies LLC
Hills CA 90209 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Cy Natl Bk L Obi=Due Diligence - Zoomeral
Bbi=/Bnf/1515 Atlantic Boulevard J Ackso Nville, FL 32207 Imad: 0303L2Lfck1C004020
Trn: 0722290062Ff
Online Transfer From Mma ...2222 Transaction#: 16756845254
Online Transfer From Mma ...9701 Transaction#: 16761414854
Book Transfer Credit B/O: Eastern Bank Lynn MA 01901- US Org:/0601405786
Construction LLC Ogb: Aba/011301798 Eastern Bank Ref: Ica Zoomeral ID 2748/Bnf/Ica
03/07 Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Sun & Shield 8411 Trust
03/07 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
Assets LLC Scottsdale AZ 85260 US Imad: 0307B1Qgc01C001413 Trn: 3073223066Es
03/08 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV Account Number - 25

5-146085-290/Time/03:40 Imad: 0308B1Qgc07C000792 Trn: 3085543067Es
Chips Credit Via: Bank of America, N.A./0959 B/O: Adaptive Medical Technologies
85258 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
Org=/4 57048631385 AZ 85258 US Ogb=Bank of America, N.A. New York NY
Op Services Bridge Payment, Zoomer/AL User ID (2743) Bbi=/Chgs/USD0,/ Ssn:
Trn: 0996060073Fc
Book Transfer Credit B/O: Belle Maison Realty, LLC Chicago IL 60619-6455 US
Prepaid Interest - Lea Muse, Belle Maison Realty, LLC Trn: 3316563068Es
03/09 Online Transfer To Mma ...2222 Transaction#: 16785590126
Book Transfer Credit B/O: Rowehl & Russo Properties LLC Shirley NY 11967-2941

Ica 2787 Trn: 3517633074Es
03/16 Online Transfer To Mma ...2222 Transaction#: 16841208963
FiverrInc XXX-XXXXXXX NY 03/17
BOOK TRANSFER CREDIT B/O: ZON HOSPITALITY CORP OPERATING BREA CA XXXXX-XXXX US
REF: DUE DILIGENCEGRUPO VACUZA XX, LLC TRN: XXXXXX3081ES
XXXXXX XXXXXX RFB=O/B AM SL HONO OBI=DUE D ILIGENCE XXXX IMAD:
XXXXGMQFMPXXXXXXXX TRN: XXXXXX0081FF
XXXX XXXXXX RFB=O/B CENTENNIAL B OBI=CAP ITAL ICA NEDRA ACRES, LLC IMAD:
XXXXMMQFMPHXXXXXXX TRN: XXXXXX0081FF
/AC-XXXXXX XXXXXX RFB=O/B REPUBLIC FIR OBI=REF # XXXX IMAD: XXXXMMQFMPXLXXXXXX
TRN: XXXXXX0082FF
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2075, 2076 & 2077 ICA Payments - US/AC-XXXXXX XXXXXX RFB=O/B ATLANTIC COM OBI=ICA .
REF#XXXX. HOSPITALITY GROWTH C AP ITAL..REF#XXXX NUTRE LEASING LLC, R EF#XXXX
SOLAR CAPITAL FU IMAD: XXXXMMQFMPXWXXXXXX TRN: XXXXXX0083FF
Online Transfer from CHK ...XXXX transaction#: XXXXXXX7383
XXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=DUE DILIGENCE-ZOOMERAL
USER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0086FF
Online Transfer to CHK ...XXXX transaction#: XXXXXXXXXXX 03/27
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX86ES 03 XXXXX/27
XXXXX/27
UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 03/28
DEPOSIT ID NUMBER XX0672
UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 03/29
XXXXX XXXXXX RFB=O/B AMER FIRST F OBI=DUE DILIGENCE USER ID XXXX IMAD:
XXXXLXBXXLXCXXXXXX TRN: XXXXXX0088FF
XXXXXX ORG=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK
NY US O BI=POP INVESTMENT INCOME INCL DIVID END/ICA ZOMMERAL USER ID: XXXX SSN:
XXXXXXX TRN: XXXXXX0088FC
Online Transfer from CHK ...XXXX transaction#: XXXXXXX9464
SPIEGEL AND UTRERA P A DOVER DE 04/03
PARASEC SACRAMENTO CA 04/04
G=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK NY US O
BI=POP SERVICES ICA USER ID XXXX BB I=/CHGS/USDX,/CHGS/USDX,/OCMT/USDXX XXX SSN:
XXXXXXX TRN: XXXXXX0094FC
ONLINE DOMESTIC WIRE TRANSFER VIA: US BANK ARIZONA/XXXXXXXXX A/C: SECOND
CHANCE ASSETS LLC SCOTTSDALE AZ XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX95ES 04/ XXXXXX05
XXXX XXXXXX RFB=XXXXXXXXXXXX OBI=DUE DIL IGENCE FEE VENDOR DUE DILIGE NCE ZO
OMERAL USER ID: XXXX BBI=/CHGS/USDX ,XX/ IMAD: XXXXMMQFMPXXXXXXXX TRN:
XXXXXX0096FF
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER A/C: ROCKSHOP LLC ATTLEBORO MA XXXXX-
XXXX US TRN: XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: MEMBERS XST FCU/XXXXXXXXX A/C:
KATRINA A RICHTER WILLOW STREET PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
DEGEN LLC PAWTUCKET RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
04/07
Tranche 1 - XXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BK AMER NYC/XXXXXXXXX A/C:
GLOBALWEBXVENTURES LLC SAINT JOSEPH MO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX
TRN: XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: COUNTY CLEARFIELD/XXXXXXXXX A/C:
BJP INVESTMENTS LLC ERIE PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C: SCHEIN REALTY
LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXX97ES 04/
XXXXXX07
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WIRE REVERSAL B/O: JPMC CB FUNDS TRANSFER SAME DAY TAMPA FL XXXXX-XXXX US ORG:
ABA/XXXXXXXXX THE WASHINGTON TRUST COMPANY REF:/BNF/OUR REF JPMXXXXXX-XX6428
CHAS EREFXXXXXXXXXXFF RTN DTD XX/XX/XXX X TRN XXXXXXXXXXES AS REF OUR PHON E
CALL FOR FURTHER INFO OR CONTAC T X -XXX-XXX-XXXX TRN: XXXXXX0097HH
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C: XXX
TEN ROD ROAD LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXX3097ES XXX04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C:
CASUAL SKILLET PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BANK OF AMERICA, N.A./XXXX A/C: BANK
OF AMERICA N.A. MA BOSTON MA XXXXX US BEN: ITYS LLC PROVIDENCE RI XXXXX US SSN:
XXX9265 TRN: XXXXXXXXXXES 04/07
XXXXXXXXXX ORG=/X XXXXXXXXXXX SAINT JOSEPH, MO, XXXXX , US OGB=BANK OF AMERICA,
N.A. NEW YORK NY US OBI=ICA WIRE FEE FOR GLO BALWEBXVENTURES BBI=/CHGS/U SSN:
XXXXXXX TRN: XXXXXX0100FC
XXXX RFB=O/B AMER FIRST F OBI=DEP OSIT ICA XXXX IMAD: XXXXLXBXXLXCXXXXXX TRN:
XXXXXX0100FF
Termination of Loan - DOMESTIC WIRE TRANSFER VIA: US BANK MISSOURI/XXXXXXXXX A/C:
WYNN-HOFF AIR, INC IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/10
Tranche 1 - XCXXXXXX TRN: XXXXXXXXXXES 04/10
XXXXX XXXXXX RFB=O/B ORIGIN BANK OBI=DUE DILIGENCE USER ID XXXX IMAD:
XXXXMMQFMPQXXXXXXX TRN: XXXXXX0102FF
NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B MELLON BANK OBI=FOR FURTHER CREDIT
TO PHOENIX RISIN G I LLC KIMBERLY AND SCOTT ROGERS.N AT IONAL SAVINGS IMAD:
XXXXBXBXTQXCXXXXXX TRN: XXXXXX0102FF

ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C: MAKO LLC
NORTH PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/13
XXXXXX14
Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: BMO HARRIS BANK
NA/XXXXXXXXX A/C: BSLN SERVICES LLC GLENDALE AZ XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/17
Tranch 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/17
XXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=BRI DGE LOAN FEE PAYMENT-
ZOOMERAL US ER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0108FF
L REQUEST IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXHH 04/18
SPIEGEL AND UTRERA P CORAL GABLES FL 04/19
PARASEC XXX-XXX-XXXX CA 04/19
SPIEGEL AND UTRERA P CORAL GABLES FL 04/21
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX14ES 04 XXXXX/24
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX16ES 04 XXXXX/26
XXXXX/26
XXXXX RFB=O/B EW BK SMRINO OBI=DUE DILIGENCE ID XXXX IMAD: XXXXLXBXXQXCXXXXXX
TRN: XXXXXX0122FF
XXX/CHGS/USDX,/CHGS/USDXX,XX/OCMT/US DXXXXXX,/ TRN: XXXXXX5122FS
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX23ES 05 XXXXX/03
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RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=NOR TH HAVEN
LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF

RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=WAL LINGFORD
LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF
DEPOSIT ID NUMBER XX7317
Online Transfer from MMA ...XXXX transaction#: XXXXXXX5984
R FURTHER CREDIT TO: ACCOUNTNUMBER-XXX-XXXXXX -XXX/TIME/XX:XX IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 05/05
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US REF: USER ID XXXX IMAD:
XXXXBXQGCXXCXX2476 TR N: XXXXXXXXXXES 05/05
Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: WELLS FARGO NA/XXXXXXXXX
A/C: OK OIL HOLDINGS LLC FARMERS BRANCH TX XXXXX US REF:/TIME/XX:XX IMAD:
XXXXBXQGCXXCXXXX45 TRN: 36 XXXXXXXXES 05/08
ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: DRES LODGING
LLC MIAMI BEACH FL XXXXX US REF: USER ID XXXX TERMINATION REFUND IMAD:
XXX5B1QGC06 CXXXXXX TRN: XXXXXXXXXXES 05/15
SPIEGEL AND UTRERA PC XXX-XXXXXXX CA 05/16
NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0151FF
XXXX ORG=/X XXXXXXXXXXX XXXX UNITED STATES OGB= MORGAN STANLEY AND CO., LLC
NEW YOR K NY US BBI=/CHGS/USDX,XX/OCMT/USDX XXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
TRN: XXXXXX0151FC
NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0152FF
Termination of Loan - NUMBER: XXXXXXXXX/BNF/FINAL BEN EFICIARY ACCOUNT NAME: XP
VENTURES, LLCFINAL BENEFICIA RY ACCOUNT NUMB ER: XXXXXXXXX/TIME/XX:XX IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/01
ONLINE DOMESTIC WIRE TRANSFER VIA: TD BANK, NA/XXXXXXXXX A/C: GENIES ANGELS
JACKSONVILLE FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/09
Repayments of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST
FCU/XXXXXXXXX A/C: BRITAIN SORENSEN CHECKING HUNTSVILLE UT XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXX60ES 06/ XXXXXX09
XXXES 06/09

Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER A/C: JARED THOMPSON OR DIANA
A HERNANDEZN SALT LAKE UT XXXXX US REF:/ACC/XXXXXXXXX3 JARED THOMPSON 483 S
PARKVIEW DR NORTH SALT LA KE UT XX XXX US TRN: XXXXXXXXXXES 06/09
Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: BRAVERA BANK/XXXXXXXXX
A/C: KIT MCCALL MILLER PURCELL OK XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 06/09
Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: VYSTAR CU/XXXXXXXXX A/C:
DEREK AND CHRYSTAL CHIPOLETTI MIDDLEBURG FL XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXX0ES 06/0 XXXXXXX9
Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: CATALYST CORP
FCU/XXXXXXXXX A/C: XXXXXXXXX POCATELLO ID XXXXXXXXX US BEN: STEVE JOHNSON
AFTON WY XXXXX US IMAD: XXXXB1QGC03C0 XXXXX TRN: XXXXXXXXXXES 06/09
GCXXCXXXXXX TRN: XXXXXXXXXXES 06/12
All Tranches - XXXES 06/13
ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST FCU/XXXXXXXXX A/C:
RICHARDANDREGENSERENSENLIVINGTRUST HUNTSVILLE UT XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXX3573 XXXES 06/14
ONLINE DOMESTIC WIRE TRANSFER VIA: ARVEST BANK/XXXXXXXXX A/C: LEWIS GRAY
BENTONVILLE AR XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/20
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FEDWIRE CREDIT VIA: TD BANK, NA/XXXXXXXXX B/O: PRYM BUILDERS GROUP LLC BROOKLYN,
NY XXXXX-XXXX REF: CHASE NYC/CTR/BNF=GENIE INVESTMENTS NV JACKSONVILLE FL X2236
-XXXX US/A C-XXXXXXXXXXXX RFB=MAX-XXXXXXXX OBI =IYSF SUNSET YARDS LLC LINE OF
CRED I T IMAD: XXXXMMQFMPYQXXXXXX TRN: XXXXXX0173FF
SPIEGEL AND UTRERA P CORAL GABLES FL 06/23
SPIEGEL AND UTRERA P CORAL GABLES FL 06/26
SPIEGEL AND UTRERA P A DOVER DE 06/28
ONLINE DOMESTIC WIRE TRANSFER VIA: COASTAL COMM BK WA/XXXXXXXXX A/C: PRPRTY
LLC ROSLYN HEIGHTS NY XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
06/28
CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
XXXXXXX TRN: XXXXXX0180FC
ONLINE DOMESTIC WIRE TRANSFER VIA: FIRST BANK NC/XXXXXXXXX A/C: JMP GROUP LLC
HOLLY SPRINGS NC XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/29
CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
XXXXXXX TRN: XXXXXX0181FC

ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C: CASUAL SKILLET
PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 07/07
ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: WINSLOW
HOMES LLC NEW SMYRNA BEACH FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 07/07
XXXXXXXXX X ORG=/XXXXXXXXXXXX XX UNITED STATE S OGB=MORGAN STANLEY AND CO.,
LLC N EW YORK NY US BBI=/CHGS/USDX,XX/OCM T/USDXXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
TRN: XXXXXX0193FC
ONLINE DOMESTIC WIRE TRANSFER VIA: CY NATL BK LA/XXXXXXXXX A/C: BIASSESS
STRATEGIES LOS ANGELES CA XXXXX US REF:/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX
TRN: XX9891 XXXXES 07/18

ONLINE DOMESTIC WIRE TRANSFER VIA: ADAMS BK OGALLALA/XXXXXXXXX A/C: SCOTT JACK
PEASE ROCKY FORD CO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 07/19
LENDALE AVE GL E NDALE CA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
07/19
ONLINE DOMESTIC WIRE TRANSFER VIA: EVOLVE B & T/XXXXXXXXX A/C: FARMING CO INC
MIDLAND TX XXXXX US REF: X MONTHS INTEREST IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXX9320 XES 07/19
XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
XXXXXXX TRN: XXXXXX0201FC
SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25
SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25
SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/27
ONLINE DOMESTIC WIRE TRANSFER A/C: JUST HEWITT LLC RAYMONDVILLE TX XXXXX US
REF: BRIDGE LOAN FIRST TRANCHE TRN: XXXXXXXXXXES 07/28
XCXXXXXX TRN: XXXXXXXXXXES 07/31




Online Transfer From Mma ...9701 Transaction#: 16224025733
Online Transfer From MMAxxx2222
02/08 Online Transfer To Mma ...9701 Transaction#: 16511419601
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Online Transfer From Mma ...9701 Transaction#: 16584061434
02/14 Online Transfer To Mma ...9701 Transaction#: 16577154750
Online Transfer from MMAxxx2222
Online Transfer From Mma ...9701 Transaction#: 16719908316
Online Transfer From Mma ...9701 Transaction#: 16761414854




01/04 Online Transfer To Mma ...3350 Transaction#: 16208519061
Online Transfer From Mma ...3350 Transaction#: 16208631735
01/04 Online Transfer To Mma ...3350 Transaction#: 16208537138
Online Transfer From Mma ...3350 Transaction#: 16224030417
02/08 Online Transfer To Mma ...3350 Transaction#: 16511421474
02/08 Online Transfer To Mma ...3350 Transaction#: 16511413023
02/14 Online Transfer To Mma ...3350 Transaction#: 16573561351
Online Transfer From Mma ...3350 Transaction#: 16573606498
02/14 Online Transfer To Mma ...3350 Transaction#: 16573576883
02/24 Online Transfer To Mma ...3350 Transaction#: 16664295448
03/03 Online Transfer To Mma ...3350 Transaction#: 16733382986
Online Transfer From Mma ...3350 Transaction#: 16761401019




Online Transfer From Mma ...2222 Transaction#: 16194833027
01/04 Online Transfer To Mma ...2222 Transaction#: 16208604948
Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184 US Ref: Bridge
Loan Prepaid Interest And Zoomeral Fees Trn: 3484643010Es
Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management Group
Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-
000000 040123 Rfb=230124032805 Obi=Loan Bu Siness Relationship Bbi=/Chgs/USD0, 00/ Imad:
0124Mmqfmp31003279 Trn: 0666190024Ff
Online Transfer From MMAxxx2222
Online Transfer From Mma ...2222 Transaction#: 16424125177
02/14 Online Transfer To Mma ...2222 Transaction#: 16573556073
Book Transfer Credit B/O: Global Verse Holdings LLC Sheridan WY 82801-6317 US Ref: Bridge Loan
Interest Pmt For 1.5 Percent of 3575000 Loan/Bnf/Bridge Lo An Interest Pmt For 1.5 Percent of 3575000
Loan Trn: 3078023041Es
o National Bank/111300958 B/O: Nutra-Acres LLC Dumas TX 79029 Ref: Chase Nyc/Ctr/Bnf=Genie
Investments NV Reno NV 89502-1643 US/Ac-000000 040123 Rfb=O/B Amarillo Nat Obi=Bri Dge- LLC
Mcmann Funding Imad: 0213Mmqfmpdy000171 Trn: 0658740044Ff
02/18 Online Transfer To Mma ...2222 Transaction#: 16616026316
Online Transfer from MMAxxx2222
02/24 Online Transfer To Mma ...2222 Transaction#: 16664297946
03/01 Online Transfer To Mma ...2222 Transaction#: 16708737091
Online Transfer From Mma ...2222 Transaction#: 16712923945
03/03 Online Transfer To Mma ...2222 Transaction#: 16733416827
                Case 3:24-bk-00496-BAJ                 Doc 40    Filed 04/03/24   Page 118 of 194


Online Transfer From Mma ...2222 Transaction#: 16756845254
03/09 Online Transfer To Mma ...2222 Transaction#: 16785590126
03/16 Online Transfer To Mma ...2222 Transaction#: 16841208963
Online Transfer from CHK ...XXXX transaction#: XXXXXXX7383
Online Transfer to CHK ...XXXX transaction#: XXXXXXXXXXX 03/27
Online Transfer from CHK ...XXXX transaction#: XXXXXXX9464


REMOTE ONLINE DEPOSIT # 1
Online Transfer from MMA ...XXXX transaction#: XXXXXXX5984




1st Tranche

2nd Tranche
                Case 3:24-bk-00496-BAJ               Doc 40   Filed 04/03/24   Page 119 of 194




Wired Funds Received from Genie Investments II LLC




Loan#2634
Loan #2895
10x
10X
10X
10X
10X
10X
10X


10X

Cash Out



Money Received from Loan #2587 (10X)

Record ICA Payable
              Case 3:24-bk-00496-BAJ         Doc 40     Filed 04/03/24        Page 120 of 194




L REQUEST IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXHH 04/18
ONLINE DOMESTIC WIRE TRANSFER VIA: TD BANK, NA/XXXXXXXXX A/C: GENIES ANGELS
JACKSONVILLE FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/09




2nd Tranche




ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C: CASUAL SKILLET
PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 07/07
ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: WINSLOW
HOMES LLC NEW SMYRNA BEACH FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 07/07
LENDALE AVE GL E NDALE CA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
07/19



ONLINE DOMESTIC WIRE TRANSFER A/C: JUST HEWITT LLC RAYMONDVILLE TX XXXXX US
REF: BRIDGE LOAN FIRST TRANCHE TRN: XXXXXXXXXXES 07/28
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Purchase 7/24
Purchase 7/24




Purchase 7/24
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Purchase 7/24




Purchase 7/24
                Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24   Page 127 of 194




Purchase 7/24
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01/03 Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley Ref: For
Further Credit To Genie Investments NV, Llcaccount Number: 2551457 12290/Time/09:48




Dividend Reinvestments




Left at sold page 19




Dividends
Advisory Fee
Interest
03/07 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV, Account Numbe R- 2

55-146085-290/Time/03:49 Imad: 0307B1Qgc02C000525 Trn: 3001393066Es
03/08 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV Account Number - 25

5-146085-290/Time/03:40 Imad: 0308B1Qgc07C000792 Trn: 3085543067Es
Dividends



Advisory Fee


Dividends
Advisory Fee
Interest
Dividends
Advisory Fee
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Dividend Reimbursements
CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
XXXXXXX TRN: XXXXXX0180FC

Wired Funds Received from Genie Investments II LLC
CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
XXXXXXX TRN: XXXXXX0181FC

Dividend Reimbursements

Advisory Fee

Dividends

Interest
Advisory Fee




Dividend Reimbursements
Dividends
Wired Funds Received from Genie Investments II LLC




Wired Funds Received from Genie Investments II LLC




Dividend Reimbursements
Advisory Fee
Dividends

Wired Funds Received from Genie Investments II LLC

Dividends

Advisory Fee

Dividend Reimbursements



Interest


Wired Funds Received from Genie Investments II LLC
Dividends
Advisory Fee
Cash Transfer
                Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24   Page 131 of 194


Dividends




Advisory Fee
Advisory Fee
Branch Check ot Caleb Davis




Dividends
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Purchase 7/24
                Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24   Page 133 of 194




Purchase 7/24
               Case 3:24-bk-00496-BAJ              Doc 40       Filed 04/03/24       Page 134 of 194




Partial Payback of Principal Investment to VelanosXXX/CHGS/USDX,/CHGS/USDXX,XX/OCMT/US
DXXXXXX,/ TRN: XXXXXX5122FS

Velanos
                Case 3:24-bk-00496-BAJ          Doc 40      Filed 04/03/24       Page 135 of 194



Brian Nichols
UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 03/28
UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 03/29
Repayments of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST
FCU/XXXXXXXXX A/C: BRITAIN SORENSEN CHECKING HUNTSVILLE UT XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXX60ES 06/ XXXXXX09
Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: CATALYST CORP
FCU/XXXXXXXXX A/C: XXXXXXXXX POCATELLO ID XXXXXXXXX US BEN: STEVE JOHNSON
AFTON WY XXXXX US IMAD: XXXXB1QGC03C0 XXXXX TRN: XXXXXXXXXXES 06/09
Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: BRAVERA BANK/XXXXXXXXX
A/C: KIT MCCALL MILLER PURCELL OK XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 06/09
Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: VYSTAR CU/XXXXXXXXX A/C:
DEREK AND CHRYSTAL CHIPOLETTI MIDDLEBURG FL XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXX0ES 06/0 XXXXXXX9

Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER A/C: JARED THOMPSON OR DIANA
A HERNANDEZN SALT LAKE UT XXXXX US REF:/ACC/XXXXXXXXX3 JARED THOMPSON 483 S
PARKVIEW DR NORTH SALT LA KE UT XX XXX US TRN: XXXXXXXXXXES 06/09
XXXES 06/09 - 1% Notes Payable
GCXXCXXXXXX TRN: XXXXXXXXXXES 06/12
ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST FCU/XXXXXXXXX A/C:
RICHARDANDREGENSERENSENLIVINGTRUST HUNTSVILLE UT XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXX3573 XXXES 06/14
ONLINE DOMESTIC WIRE TRANSFER VIA: ARVEST BANK/XXXXXXXXX A/C: LEWIS GRAY
BENTONVILLE AR XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/20

ODP Solutions DBA Sky Systemz




DEPOSIT ID NUMBER XX7317
R FURTHER CREDIT TO: ACCOUNTNUMBER-XXX-XXXXXX -XXX/TIME/XX:XX IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 05/05
XXXXXXXXX X ORG=/XXXXXXXXXXXX XX UNITED STATE S OGB=MORGAN STANLEY AND CO.,
LLC N EW YORK NY US BBI=/CHGS/USDX,XX/OCM T/USDXXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
TRN: XXXXXX0193FC
                 Case 3:24-bk-00496-BAJ     Doc 40   Filed 04/03/24   Page 136 of 194




Remove ICA Payable - No Longer Refundable




Non Refundable
                 Case 3:24-bk-00496-BAJ                 Doc 40        Filed 04/03/24   Page 137 of 194




Wired Funds Received from Genie Investments II LLC




Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Dajo
Honey Brook PA 19344 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral
2623 Bbi=/Bnf/F Unds Being Sent To Security A Ccoun T Imad: 0103Mmqfmp3W000395
Book Transfer Credit B/O: Fehu Capital, Inc. Houston TX 77035-6007 US Ref:

Trn: 3132403012Es
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Chalanco Funding
Lancaster PA 17601 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
US/Ac-000000 008522 Rfb=Ow00002902806352 Obi=Fbo Chalanco Funding
Bbi=/Chgs/USD0,00/ Imad: 0130I1B7032R005591 Trn: 0250760030Ff
Foreign Remittance Credit B/O: JPMorgan Chase Bank National Columbus OH
Org:/0000000265580279 Half A Dime Ltd. Ogb: Atb Financial 10020 100 Street
Ref:/Ocmt/Cad100060,00/Exch/1.351200000/Cntr/69115616/Acc/Down Payment
Loan/Ins/Royccat2 Trn: 7442800030Re
10x
Fedwire Credit Via: Space Coast Credit Union/263177903 B/O: Winslow Homes
Smyrna Beach FL 32168-5334 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
89502-1643 US/Ac-000000 008522 Rfb=O/B Space Coast Obi=Ica Zoomeral
Imad: 0202Gmqfmp01004817 Trn: 0331440033Ff

LLC. New 2,575.00
Reno NV
User ID 2685
Fedwire Credit Via: Members 1St Federal Credit Union/231382241 B/O: Katrina
Willow Street PA 17584-9210 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
89502-1643 US/Ac-000000 008522 Rfb=Jjhk Imad: 0203Gmqfmp01020488 Trn:
Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
Org:/5307956034 Grindstone Incorporated Ogb: Aba/043000096 Pnc Bank, N.A.
Zoomeral ID 2695 Brian A Parnell/Ins/Aba/043000096Pncbank/Ref/2328 K0922Epl1Xvk
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Chips Credit Via: Bank of America, N.A./0959 B/O: Itys, LLC Swansea, MA, 02777,
Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/4
66009102941 Swansea, MA, 02777, US Ogb=Bank of America, N.A. New York
Obi=Ica ID 2703 Bbi=/Chgs/USD 0,/ Ssn: 0434510 Trn: 1003730040Fc

US Ref: 20,075.00
NY US
Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Degen
Pawtucket, RI 02860-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investment
Imad: 0210Mmqfmpu6000031 Trn: 0526980041Ff
Book Transfer Credit B/O: Anon Energy, LLC Cedar Hills UT 84062-8016 US

2690/Bnf/Ica : Zoomeral User ID 2690 Trn: 3426213038Es
Fedwire Credit Via: Bank Fund Staff Fcu/254074170 B/O: 1/Arnold J Ainsley
FL 33897 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Bk Staff Fcu Obi=Nor Tical Capital
Chips Credit Via: Bank of America, N.A./0959 B/O: Half A Dime Ltd. T0H 0C0
Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/0
000000265580279 T0H 0C0 CA Ogb=Atb Financial Edmonton Canada CA Bbi=/C
Hgs/USD0,/Chgs/USD0,/Ocmt/USD25974, 31/Rec/Down Payment For Loan Ssn:
Trn: 1116640040Fc
10X
10X
10X
10X
10X
Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Mako Enterprises
LLC Lincoln, RI 02865-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investments
Imad: 0210Mmqfmpu6000032 Trn: 0529740041Ff
Chips Credit Via: Bank of America, N.A./0959 B/O: Red Balloon Capital, LLC
Providence, RI, 02914, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000008522 Org=/4 66008618779 East Providence, RI, 02 914, US
America, N.A. N Ew York NY US Obi=Ica ID 2701 Bbi=/Chgs/USD0,/ Ssn: 0505917
1204720041Fc

20,075.00

Ogb=Bank of
Trn:
Book Transfer Credit B/O: Vick Enterprise, LLC Albany CA 94706-5034 US Ref:
Zoomeral User ID: 2629/Bnf/Ica Zoomeral User ID 2629 Trn: 3495453047Es
Fedwire Credit Via: Coastal1 Credit Union/211590260 B/O: Ryan Mcgovern North
MA 02760-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Coastal1 CU Obi=Ica Zoomeral User ID:2735
0216Qmgft012000882 Trn: 0633310047Ff
Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Ica -
Ref: Michael Schei N, 527 Ten Rod Rd,LLC Imad: 0216Mmqfmpr0000038 Trn:
Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Fratelli
Methuen, MA 01844 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral User ID 2739
0222Mmqfmp3W000004 Trn: 0155600053Ff
10X
10X
                 Case 3:24-bk-00496-BAJ                  Doc 40        Filed 04/03/24   Page 139 of 194


Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Re: Ica
2717 Ref: Michael S Ch Ein, Schein Realty LLC Imad: 0216Mmqfmpr0000039
0659450047Ff

& 20,075.00
NV
- User:
Trn:
Book Transfer Credit B/O: Pd&C Financial Services, LLC Sugar Land TX 77479-8846

Ref: Ica Zoomeral User ID 2625 Trn: 3631213059Es
Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Archer
Investments LLC US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
US/Ac-000000 008522 Rfb=O/B Amer First F Obi=Dow N Payment On A Loan
Zoomera L User ID: 2649 Imad: 0302L4B74L2C000154 Trn: 0668120061Ff

Capital 200,075.00
89502-1643
Ica,
Book Transfer Credit B/O: Eastern Bank Lynn MA 01901- US Org:/0601405786
Construction LLC Ogb: Aba/011301798 Eastern Bank Ref: Ica Zoomeral ID 2748/Bnf/Ica
Book Transfer Credit B/O: Rowehl & Russo Properties LLC Shirley NY 11967-2941

Ica 2787 Trn: 3517633074Es
/AC-XXXXXX XXXXXX RFB=O/B REPUBLIC FIR OBI=REF # XXXX IMAD: XXXXMMQFMPXLXXXXXX
TRN: XXXXXX0082FF
2075, 2076 & 2077 ICA Payments - US/AC-XXXXXX XXXXXX RFB=O/B ATLANTIC COM OBI=ICA .
REF#XXXX. HOSPITALITY GROWTH C AP ITAL..REF#XXXX NUTRE LEASING LLC, R EF#XXXX
SOLAR CAPITAL FU IMAD: XXXXMMQFMPXWXXXXXX TRN: XXXXXX0083FF
REMOTE ONLINE DEPOSIT # 1
G=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK NY US O
BI=POP SERVICES ICA USER ID XXXX BB I=/CHGS/USDX,/CHGS/USDX,/OCMT/USDXX XXX SSN:
XXXXXXX TRN: XXXXXX0094FC




Money Received from Loan #2587 (10X)

Remove ICA Payable - No Longer Refundable



Record ICA Payable

Remove ICA Pay - No longer refundable
                     Case 3:24-bk-00496-BAJ   Doc 40     Filed 04/03/24         Page 140 of 194


PAID OFF IN FULL




XXXX RFB=O/B AMER FIRST F OBI=DEP OSIT ICA XXXX IMAD: XXXXLXBXXLXCXXXXXX TRN:
XXXXXX0100FF
XXXXXXXXXX ORG=/X XXXXXXXXXXX SAINT JOSEPH, MO, XXXXX , US OGB=BANK OF AMERICA,
N.A. NEW YORK NY US OBI=ICA WIRE FEE FOR GLO BALWEBXVENTURES BBI=/CHGS/U SSN:
XXXXXXX TRN: XXXXXX0100FC

Non Refundable

RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=WAL LINGFORD
LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF

RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=NOR TH HAVEN
LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF
FEDWIRE CREDIT VIA: TD BANK, NA/XXXXXXXXX B/O: PRYM BUILDERS GROUP LLC BROOKLYN,
NY XXXXX-XXXX REF: CHASE NYC/CTR/BNF=GENIE INVESTMENTS NV JACKSONVILLE FL X2236
-XXXX US/A C-XXXXXXXXXXXX RFB=MAX-XXXXXXXX OBI =IYSF SUNSET YARDS LLC LINE OF
CRED I T IMAD: XXXXMMQFMPYQXXXXXX TRN: XXXXXX0173FF




Interest Earned #1055




Interest Paid from Loan

Interest Paid from Loan

Loan Interest
Loan Interest
XXXX ORG=/X XXXXXXXXXXX XXXX UNITED STATES OGB= MORGAN STANLEY AND CO., LLC
NEW YOR K NY US BBI=/CHGS/USDX,XX/OCMT/USDX XXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
TRN: XXXXXX0151FC
Loan Interest
Loan Interest
XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
XXXXXXX TRN: XXXXXX0201FC
7/23 Loan Interest

Loan Interest
Loan Interest

Loan Interest
Cash Transfer
Loan Interest
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Loan Interest



Velanos


Fedwire Credit Via: First Interstate Bk of Billings NA/092901683 B/O: Ww LLC
99030 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B First Intrst Obi=Bri Dge Payment Zoomeral User
Imad: 0103Gmqfmp01021472 Trn: 0859470003Ff
Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184 US Ref: Bridge
Loan Prepaid Interest And Zoomeral Fees Trn: 3484643010Es
Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Ica U Ser ID 2633 Imad:
0111F2Qcz00C002087 Trn: 0560090011Ff
Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management Group
Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-
000000 040123 Rfb=230124032805 Obi=Loan Bu Siness Relationship Bbi=/Chgs/USD0, 00/ Imad:
0124Mmqfmp31003279 Trn: 0666190024Ff
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Heliosun LLC Goodyear,
85338-1585 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=0006494030905152 Obi=Bri Dge Payment Bridge
Bbi=/Chg S/USD0,00/ Imad: 0131I1B7032R017716 Trn: 0820350031Ff
Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/02031035671461 82 Trn: 0085920037Ez
Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Travis
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=O/B Amer First F Obi=Bri Dge Payment Imad: 0207L4B74L2C000064
0385410038Ff

V Nokes US 150,000.00
Trn:
Fedwire Credit Via: Zions Bancorporation N.A./124000054 B/O: Ameiva LLC
Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
Rfb=O/B Zions Bancor Obi=Bri Dge Payment Zoomeral User ID: 27 32 Imad:
0210L4B74B3C002737 Trn: 0823970041Ff
Book Transfer Credit B/O: Global Verse Holdings LLC Sheridan WY 82801-6317 US Ref: Bridge Loan
Interest Pmt For 1.5 Percent of 3575000 Loan/Bnf/Bridge Lo An Interest Pmt For 1.5 Percent of 3575000
Loan Trn: 3078023041Es
Fedwire Credit Via Amarillo National Bank/111300958 B/O: Nutra-Acres LLC Dumas TX 79029 Ref:
Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000 040123 Rfb=O/B
Amarillo Nat Obi=Bri Dge- LLC Mcmann Funding Imad: 0213Mmqfmpdy000171 Trn: 0658740044Ff
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Limitless Investment
LLC UT 84115 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=Ow00002969035406 Obi=Bri Dge Payment Zoomeral
273 3 Bbi=/Chgs/USD0,00/ Imad: 0222I1B7033R003400 Trn: 0083150053Ff
Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=Mmj1272Dtwgsbzzp Obi=Ica 2678 Imad:
0227Mmqfmpgh000423 Trn: 0103310058Ff
Chips Credit Via: Bank of America, N.A./0959 B/O: Adaptive Medical Technologies
85258 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
Org=/4 57048631385 AZ 85258 US Ogb=Bank of America, N.A. New York NY
Op Services Bridge Payment, Zoomer/AL User ID (2743) Bbi=/Chgs/USD0,/ Ssn:
Trn: 0996060073Fc
Book Transfer Credit B/O: Belle Maison Realty, LLC Chicago IL 60619-6455 US
Prepaid Interest - Lea Muse, Belle Maison Realty, LLC Trn: 3316563068Es
RFB=O/B BMO HARRIS B OBI=ICA ZOOMERAL USER ID: XXXX BBI=/CHGS/U SDX,/ IMAD:
XXXXGXQGXXXCXXXXXX TRN: XXXXXX0079FF
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XXXX XXXXXX RFB=O/B CENTENNIAL B OBI=CAP ITAL ICA NEDRA ACRES, LLC IMAD:
XXXXMMQFMPHXXXXXXX TRN: XXXXXX0081FF
XXXXXX ORG=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK
NY US O BI=POP INVESTMENT INCOME INCL DIVID END/ICA ZOMMERAL USER ID: XXXX SSN:
XXXXXXX TRN: XXXXXX0088FC
NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0151FF
NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0152FF
ONLINE DOMESTIC WIRE TRANSFER VIA: EVOLVE B & T/XXXXXXXXX A/C: FARMING CO INC
MIDLAND TX XXXXX US REF: X MONTHS INTEREST IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXX9320 XES 07/19



1 point

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1 point


Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184

Ref: "Due Diligence" User ID 2634 Trn: 3910133003Es
Loan#2634
Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Due D Illigence User ID 2633
0104F2Qcz00C001051 Trn: 0336340004Ff
Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management
Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=230106030664 Obi=Due Dil Igence Loan
Client Due D Iligen Ce Zoomeral User ID 2627 Bbi=/Chgs/USD0,00/ Imad:
0106I1Q73Agc002839 Trn: 0554720006Ff
Fedwire Credit Via: Mountain America Fcu/324079555 B/O: Wrex & Whitney
Surprise AZ 85388 USA Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Mtn Am CU Sl Obi=Due Diligence
User ID: 26 43 Imad: 0118Qmgft015001162 Trn: 0689410018Ff
Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=Mmnxb0Vqgwpjtags Obi=Due Diligence
Imad: 0126Mmqfmpgh001736 Trn: 0402480026Ff
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Fedwire Credit Via: Capital One, NA/056073502 B/O: Lea J Muse Chicago,IL,60619,US
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=Mm8Ucjvwykdgky6C Obi=Ret Ention Fee Imad: 0130Mmqfmpgh002743
0604710030Ff

25,000.00

Trn:
Loan #2895
Chips Credit Via: Bank of America, N.A./0959 B/O: Humane Care 7 Days Medical
Ica 926472656 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000008522 Org=/0 00932769339 CA 926472656 US Ogb=Ban K of
N.A. New York NY US O Bi=POP Trade Related Due Diligence - Z/Oomeral User
Bbi Ssn: 0631066 Trn: 1388090031Fc
Credit Via: America First Federal Credit Union/324377516 B/O: Travis
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=O/B Amer First F Obi=Due Diligence Application Fee Due D IL
Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/0202900838318 953 Trn: 3230850034Ez
02/06 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Ref:/Bnf/Due Diligence Imad:
Fedwire Credit Via: Canandaigua National Bank/022303659 B/O: Robert J. Wrisley
Rochester, NY 14626-1007 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=O/B Natl Cananda Obi=Due Diligence
2668 Imad: 0206Qmgft015000472 Trn: 0371320037Ff
Fedwire Credit Via: Amarillo National Bank/111300958 B/O: Charles B Stringer
79029-1084 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Amarillo Nat Obi=Ref : Due Diligence Fee For
S At LLC Care of Blake Stringer Imad: 0206Mmqfmpdy000032 Trn: 0252670037Ff

Dumas TX 40,000.00
Nutra/A
Chips Credit Via: Bank of America, N.A./0959 B/O: Beverly R Yoneyama Sammamish,
98074, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
Org=/0 00068417427 Sammamish, WA, 98074, U S Ogb=Bank of America, N.A.
K NY US Obi=Edge Development Retent Ion Fee Bbi=/Chgs/USD0,/ Ssn: 0220597
0532540037Fc

WA, 7,500.00
New Yor
Trn:
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Holland Energy
Waller, TX 77484-9548 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
89502-1643 US/Ac-000000 008522 Rfb=0068543044573523 Obi=Due Diligence
Diligence Zoomera L User ID 2673 Bbi=/Chgs/USD0,00/Bnf/Due Diligence Zoo
0213I1B7031R016495 Trn: 0814080044Ff

LLC 40,000.00
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Due
Imad:
Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Michael Ehinger
Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
008522 Rfb=Ow00002949767345 Obi=Due Dillegence User ID 2733 Expansi
Investments Bbi=/Chgs/USD0,00/ Imad: 0214I1B7031R011581 Trn: 0586460045Ff
Fedwire Credit Via: UBS Ag Stamford Branch/026007993 B/O: Robin P Allen
P Allen5258-2913 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=00768720230228Pw Obi=Due Diligence User ID
0228B6B7Ik1C005398 Trn: 1010960059Ff
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Fedwire Credit Via: Capital One, NA/056073502 B/O: Vtj LLC Leander,TX,78641,US
Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
Rfb=Sbbmmahaeq96Deig Obi=Vjt LLC Cai Account Imad: 0302Mmqfmpgh000888
0204830061Ff
Fedwire Credit Via: City National Bank/122016066 B/O: Biassess Strategies LLC
Hills CA 90209 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
US/Ac-000000 008522 Rfb=O/B Cy Natl Bk L Obi=Due Diligence - Zoomeral
Bbi=/Bnf/1515 Atlantic Boulevard J Ackso Nville, FL 32207 Imad: 0303L2Lfck1C004020
Trn: 0722290062Ff
XXXXXX XXXXXX RFB=O/B AM SL HONO OBI=DUE D ILIGENCE XXXX IMAD:
XXXXGMQFMPXXXXXXXX TRN: XXXXXX0081FF
BOOK TRANSFER CREDIT B/O: ZON HOSPITALITY CORP OPERATING BREA CA XXXXX-XXXX US
REF: DUE DILIGENCEGRUPO VACUZA XX, LLC TRN: XXXXXX3081ES
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX86ES 03 XXXXX/27
XXXXX/27
XXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=DUE DILIGENCE-ZOOMERAL
USER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0086FF
DEPOSIT ID NUMBER XX0672
XXXXX XXXXXX RFB=O/B AMER FIRST F OBI=DUE DILIGENCE USER ID XXXX IMAD:
XXXXLXBXXLXCXXXXXX TRN: XXXXXX0088FF
ONLINE DOMESTIC WIRE TRANSFER VIA: US BANK ARIZONA/XXXXXXXXX A/C: SECOND
CHANCE ASSETS LLC SCOTTSDALE AZ XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX95ES 04/ XXXXXX05
XXXX XXXXXX RFB=XXXXXXXXXXXX OBI=DUE DIL IGENCE FEE VENDOR DUE DILIGE NCE ZO
OMERAL USER ID: XXXX BBI=/CHGS/USDX ,XX/ IMAD: XXXXMMQFMPXXXXXXXX TRN:
XXXXXX0096FF
XXXXX XXXXXX RFB=O/B ORIGIN BANK OBI=DUE DILIGENCE USER ID XXXX IMAD:
XXXXMMQFMPQXXXXXXX TRN: XXXXXX0102FF
NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B MELLON BANK OBI=FOR FURTHER CREDIT
TO PHOENIX RISIN G I LLC KIMBERLY AND SCOTT ROGERS.N AT IONAL SAVINGS IMAD:
XXXXBXBXTQXCXXXXXX TRN: XXXXXX0102FF
XXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=BRI DGE LOAN FEE PAYMENT-
ZOOMERAL US ER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0108FF
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX14ES 04 XXXXX/24
XXXXX/26
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX16ES 04 XXXXX/26
XXXXX RFB=O/B EW BK SMRINO OBI=DUE DILIGENCE ID XXXX IMAD: XXXXLXBXXQXCXXXXXX
TRN: XXXXXX0122FF
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX23ES 05 XXXXX/03
ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
COMMERCIAL LENDING CHICAGO IL XXXXX US REF: USER ID XXXX IMAD:
XXXXBXQGCXXCXX2476 TR N: XXXXXXXXXXES 05/05
ONLINE DOMESTIC WIRE TRANSFER VIA: CY NATL BK LA/XXXXXXXXX A/C: BIASSESS
STRATEGIES LOS ANGELES CA XXXXX US REF:/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX
TRN: XX9891 XXXXES 07/18



Brian Nichols
02/17 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Brian Nichols
Wilmore KY 40390 US Ref:/Time/12:01 Imad: 0217B1Qgc08C025704 Trn: 3304113048Es
03/07 Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Sun & Shield 8411 Trust
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Termination of Loan - DOMESTIC WIRE TRANSFER VIA: US BANK MISSOURI/XXXXXXXXX A/C:
WYNN-HOFF AIR, INC IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/10
Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: BMO HARRIS BANK
NA/XXXXXXXXX A/C: BSLN SERVICES LLC GLENDALE AZ XXXXX US IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/17
Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: WELLS FARGO NA/XXXXXXXXX
A/C: OK OIL HOLDINGS LLC FARMERS BRANCH TX XXXXX US REF:/TIME/XX:XX IMAD:
XXXXBXQGCXXCXXXX45 TRN: 36 XXXXXXXXES 05/08
ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: DRES LODGING
LLC MIAMI BEACH FL XXXXX US REF: USER ID XXXX TERMINATION REFUND IMAD:
XXX5B1QGC06 CXXXXXX TRN: XXXXXXXXXXES 05/15
Termination of Loan - NUMBER: XXXXXXXXX/BNF/FINAL BEN EFICIARY ACCOUNT NAME: XP
VENTURES, LLCFINAL BENEFICIA RY ACCOUNT NUMB ER: XXXXXXXXX/TIME/XX:XX IMAD:
XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/01
ONLINE DOMESTIC WIRE TRANSFER VIA: COASTAL COMM BK WA/XXXXXXXXX A/C: PRPRTY
LLC ROSLYN HEIGHTS NY XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
06/28
ONLINE DOMESTIC WIRE TRANSFER VIA: FIRST BANK NC/XXXXXXXXX A/C: JMP GROUP LLC
HOLLY SPRINGS NC XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/29

ONLINE DOMESTIC WIRE TRANSFER VIA: ADAMS BK OGALLALA/XXXXXXXXX A/C: SCOTT JACK
PEASE ROCKY FORD CO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 07/19

ODP Solutions DBA Sky Systemz
XCXXXXXX TRN: XXXXXXXXXXES 07/31
Linger Chu Withdrawal




01/04 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0104B1Qgc08C038194 Trn: 3505073004Es
01/04 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0104B1Qgc08C038368 Trn: 3507093004Es
01/12 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0112B1Qgc08C015196 Trn: 3261203012Es
01/12 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0112B1Qgc04C005166 Trn: 3262383012Es
01/20 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
Assets LLC Scottsdale AZ 85260 US Imad: 0120B1Qgc06C006996 Trn: 3439053020Es
01/20 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0120B1Qgc08C031822 Trn: 3440903020Es
01/30 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0130B1Qgc06C012183 Trn: 3388473030Es
01/30 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0130B1Qgc04C006044 Trn: 3390113030Es
02/01 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
Dallas TX 75205 US Imad: 0201B1Qgc06C003480 Trn: 3175203032Es
02/01 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0201B1Qgc07C003067 Trn: 3174843032Es
02/06 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
Assets LLC Scottsdale AZ 85260 US Imad: 0206B1Qgc07C033684 Trn: 3589083037Es
02/06 Online Domestic Wire Transfer Via: County Clearfield/031306278 A/C: Klie Enterprises
LLC Meadville PA 16335 US Imad: 0206B1Qgc06C009275 Trn: 3591803037Es
02/08 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0208B1Qgc05C002827 Trn: 3137783039Es
02/15 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0215B1Qgc05C002105 Trn: 3068493046Es
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02/23 Online Domestic Wire Transfer A/C: Znoc Enterprises, LLC Wellsville UT 84339-9635 US
03/02 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
Commercial Lending Chicago IL 60601 US Imad: 0302B1Qgc01C001500 Trn: 3070453061Es
03/07 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
Assets LLC Scottsdale AZ 85260 US Imad: 0307B1Qgc01C001413 Trn: 3073223066Es
XXXXXX14


02/15 Parasec 916-576-7000 CA Card 9242
PARASEC SACRAMENTO CA 04/04
PARASEC XXX-XXX-XXXX CA 04/19


FiverrInc XXX-XXXXXXX NY 03/17


02/23 Shaver Law Group LLC 404-3459449 GA Card 9242




Advisory Fee
Advisory Fee
Advisory Fee
Advisory Fee

Advisory Fee
Advisory Fee
Advisory Fee

Advisory Fee
Advisory Fee
Advisory Fee
Advisory Fee


01/13 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Spiegel And Ultera
PA EFT San Francisco CA 94104 US Ref: Legal Fees And 5K For Retainer/Time/11:27 Imad:
0113B1Qgc01C005756 Trn: 3320903013Es
03/02 Online Domestic Wire Transfer Via: Signature Bank/026013576 A/C: Warren Law Group
Iola New York NY 10017 US Imad: 0302B1Qgc02C005602 Trn: 3347103061Es
SPIEGEL AND UTRERA P A DOVER DE 04/03
SPIEGEL AND UTRERA P CORAL GABLES FL 04/19
SPIEGEL AND UTRERA P CORAL GABLES FL 04/21
SPIEGEL AND UTRERA PC XXX-XXXXXXX CA 05/16
SPIEGEL AND UTRERA P CORAL GABLES FL 06/23
SPIEGEL AND UTRERA P CORAL GABLES FL 06/26
SPIEGEL AND UTRERA P A DOVER DE 06/28
SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25
SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25
SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/27
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Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BK AMER NYC/XXXXXXXXX A/C:
GLOBALWEBXVENTURES LLC SAINT JOSEPH MO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX
TRN: XXXXXXXXXXES 04/07
Tranche 1 - XXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BANK OF AMERICA, N.A./XXXX A/C: BANK
OF AMERICA N.A. MA BOSTON MA XXXXX US BEN: ITYS LLC PROVIDENCE RI XXXXX US SSN:
XXX9265 TRN: XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C:
CASUAL SKILLET PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: COUNTY CLEARFIELD/XXXXXXXXX A/C:
BJP INVESTMENTS LLC ERIE PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C:
SCHEIN REALTY LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXX97ES 04/ XXXXXX07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C: XXX
TEN ROD ROAD LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXX3097ES XXX04/07

WIRE REVERSAL B/O: JPMC CB FUNDS TRANSFER SAME DAY TAMPA FL XXXXX-XXXX US ORG:
ABA/XXXXXXXXX THE WASHINGTON TRUST COMPANY REF:/BNF/OUR REF JPMXXXXXX-XX6428
CHAS EREFXXXXXXXXXXFF RTN DTD XX/XX/XXX X TRN XXXXXXXXXXES AS REF OUR PHON E
CALL FOR FURTHER INFO OR CONTAC T X -XXX-XXX-XXXX TRN: XXXXXX0097HH
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER A/C: ROCKSHOP LLC ATTLEBORO MA XXXXX-
XXXX US TRN: XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: MEMBERS XST FCU/XXXXXXXXX A/C:
KATRINA A RICHTER WILLOW STREET PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/07
Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
DEGEN LLC PAWTUCKET RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
04/07
Tranche 1 - XCXXXXXX TRN: XXXXXXXXXXES 04/10

ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C: MAKO LLC
NORTH PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/13
Tranch 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
XXXXXXXXXXES 04/17
All Tranches - XXXES 06/13




Dividend Reinvestments
Dividends


Dividends
Dividends
Dividends
Dividend Reimbursements

Dividend Reimbursements
               Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24   Page 148 of 194



Dividends
Dividends
Dividend Reimbursements
Dividends
Dividend Reimbursements

Dividend Reimbursements

Dividends
Dividends
Dividends
Dividends




Interest


Interest

Interest

Interest


PAID OFF IN FULL
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Interest Earned #1055




Wired Funds Received from Genie Investments II LLC




Interest Paid from Loan

Interest Paid from Loan



Loan Interest
Loan Interest
Loan Interest
Loan Interest
7/23 Loan Interest

Loan Interest
Loan Interest

Loan Interest
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Loan Interest
Loan Interest




Wired Funds Received from Genie Investments II LLC
Wired Funds Received from Genie Investments II LLC




Tuesday, Apr 02, 2024 12:04:14 PM GMT-7 - Accrual Basis
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                                Split                                 Amount


-Split-                                                                     -2,000.00



Commission Expense                                                        -22,000.00



Due Diligence Revenue                                                      35,000.00




Bridge Interest Revenue                                                    45,075.00
CHASE MM Acct# xxx2222                                                  1,450,000.00




ICA Payable                                                               100,075.00

Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account           -1,450,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                                     9,000.00
CHASE MM Acct# xxx2222                                                   -476,500.00




Due Diligence Revenue                                                      20,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                                   -15,000.00

Commission Expense                                                          -8,250.00
CHASE MM Acct xxx3350 (Bridge Interest)                                   -30,000.00




Due Diligence Revenue                                                      20,000.00




3278 Loans Receivable:Loan #3278                                         -100,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                                    60,000.00
CHASE Chk xxx9701 (Legal)                                                  40,000.00




Bridge Interest Revenue                                                    37,500.00

Commission Expense                                                          -8,000.00

Commission Expense                                                          -3,000.00
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ICA Payable                                                  20,075.00




Due Diligence Revenue                                        15,000.00



Legal & Professional Fees:Legal Expense                       -9,266.68

Commission Expense                                            -2,437.50

Commission Expense                                            -5,250.00




Due Diligence Revenue                                        30,000.00

Commission Expense                                            -4,500.00

Commission Expense                                           -12,000.00




ICA Payable                                                   5,075.00




Due Diligence Revenue                                        25,000.00




Due Diligence Revenue                                        40,000.00
CHASE MM Acct# xxx2222                                        7,161.00




ICA Payable                                                  74,052.69




Bridge Interest Revenue                                     165,075.00

Commission Expense                                            -3,750.00

Commission Expense                                           -10,000.00



Due Diligence Revenue                                        15,075.00
                 Case 3:24-bk-00496-BAJ      Doc 40   Filed 04/03/24     Page 153 of 194




ICA Payable                                                      2,575.00



ICA Payable                                                     25,000.00



Due Diligence Revenue                                           15,000.00



Bridge Interest Revenue                                         15,000.00




Due Diligence Revenue                                            7,500.00




Due Diligence Revenue                                            7,500.00




Due Diligence Revenue                                           40,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                         -91,000.00

Due Diligence Revenue                                           -16,000.00
CHASE Chk xxx9701 (Legal)                                        -9,000.00
Legal & Professional Fees:Registered Agent                           -9.00

Commission Expense                                               -4,500.00
CHASE MM Acct xxx3350 (Bridge Interest)                        -165,000.00

Commission Expense                                               -3,750.00




ICA Payable                                                     20,075.00



ICA Payable                                                     50,075.00



ICA Payable                                                    200,075.00
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ICA Payable                                                  20,075.00



ICA Payable                                                  20,075.00




ICA Payable                                                  25,974.31




Bridge Interest Revenue                                     150,000.00
CHASE MM Acct# xxx2222                                      -602,500.00

Commission Expense                                            -6,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                      -99,000.00
Compliance Expense                                            -6,424.25




ICA Payable                                                  20,075.00




Bridge Interest Revenue                                       7,575.00




Due Diligence Revenue                                        40,000.00




ICA Payable                                                  20,075.00




Due Diligence Revenue                                        15,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                      10,000.00

ICA Payable                                                 176,075.00
CHASE Chk xxx9701 (Legal)                                     6,500.00
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CHASE Chk xxx9701 (Legal)                                    -17,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                       -7,500.00

Commission Expense                                           -16,000.00




ICA Payable                                                  20,075.00




ICA Payable                                                  15,075.00




ICA Payable                                                 150,075.00




ICA Payable                                                  20,075.00

Termination Refund                                          -116,480.00
CHASE MM Acct# xxx2222                                      -114,000.00




Bridge Interest Revenue                                      80,075.00
Commission Expense                                            -3,750.00
CHASE MM Acct xxx3350 (Bridge Interest)                      -80,000.00
Legal & Professional Fees                                     -5,000.00
CHASE MM Acct# xxx2222                                      -140,000.00



ICA Payable                                                 150,075.00




Bridge Interest Revenue                                      34,575.00




Due Diligence Revenue                                        30,000.00




ICA Payable                                                 200,075.00
CHASE MM Acct# xxx2222                                       12,500.00
CHASE MM Acct# xxx2222                                      -150,000.00
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Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account            -450,000.00

Legal & Professional Fees:Legal Expense                                   -15,000.00

Commission Expense                                                        -12,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                                   -34,500.00
CHASE MM Acct# xxx2222                                                   -200,000.00




Due Diligence Revenue                                                      30,000.00
CHASE Chk xxx9701 (Legal)                                                  15,000.00
CHASE MM Acct xxx3350 (Bridge Interest)                                   450,000.00




Due Diligence Revenue                                                      15,000.00
CHASE MM Acct# xxx2222                                                  1,950,000.00
CHASE Chk xxx9701 (Legal)                                                 100,000.00

ICA Payable                                                                15,075.00
Termination Refund                                                      -1,950,000.00

Commission Expense                                                          -5,250.00




Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account            -100,000.00




Bridge Interest Revenue                                                   150,000.00

Bridge Interest Revenue                                                    45,000.00
CHASE MM Acct# xxx2222                                                    -15,000.00



ICA Payable                                                                15,075.00
CHASE MM Acct# xxx2222                                                    -15,000.00
Contractors                                                                 -2,086.90

Due Diligence Revenue                                                      25,000.00

Due Diligence Revenue                                                      25,000.00

Bridge Interest Revenue                                                   245,000.00

ICA Payable                                                                 5,075.00
                 Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 157 of 194



ICA Payable                                                  90,075.00
CHASE MM Acct# xxx2222                                      -155,000.00

Due Diligence Revenue                                        15,000.00
CHASE MM Acct# xxx2222                                      132,000.00



Due Diligence Revenue                                        -10,000.00
Due Diligence Revenue                                        -10,000.00



Warrant Investment                                          -500,000.00
Due Diligence Revenue                                        45,000.00



Warrant Investment                                          -125,000.00

Due Diligence Revenue                                        30,000.00



Bridge Interest Revenue                                     100,075.00
CHASE MM Acct# xxx2222                                      -100,000.00
Legal & Professional Fees:Legal Expense                       -3,000.00
Compliance Expense                                             5,671.25



ICA Payable                                                1,100,000.00



Due Diligence Revenue                                         -5,250.00



Due Diligence Revenue                                        15,000.00

Loan Closing Settlement                                      -15,900.00



Loan Closing Settlement                                      -31,900.00



Loan Closing Settlement                                      -39,900.00



Loan Closing Settlement                                      -31,900.00
Loan Closing Settlement                                       -7,900.00



Loan Closing Settlement                                      -31,900.00



Loan Closing Settlement                                      -15,900.00



Loan Closing Settlement                                      -31,900.00
                 Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 158 of 194




Loan Closing Settlement                                      31,900.00



Loan Closing Settlement                                      -31,900.00



Loan Closing Settlement                                       -1,850.00



Loan Closing Settlement                                      -31,900.00



ICA Payable                                                  20,075.00

ICA Payable                                                 180,075.00

Termination Refund                                          -500,000.00
Loan Closing Settlement                                      -31,900.00

Due Diligence Revenue                                        37,000.00



Due Diligence Revenue                                        30,000.00



Loan Closing Settlement                                      -31,900.00
Commission Expense                                            -5,250.00



Termination Refund                                          -150,000.00



Loan Closing Settlement                                      -31,900.00

Due Diligence Revenue                                       150,000.00
Loans Receivable Offset from Chase Bk                        -30,000.00
Legal & Professional Fees:Legal Expense                       -5,000.00
Compliance Expense                                            -1,165.00
Legal & Professional Fees:Legal Expense                       -6,175.08



Due Diligence Revenue                                        -12,000.00



Due Diligence Revenue                                        -14,800.00
Due Diligence Revenue                                        -18,000.00

Due Diligence Revenue                                        30,000.00
Velanos Capital Receivable                                  499,975.00



Due Diligence Revenue                                        -12,000.00
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ICA Payable                                                                  1,800,075.00



ICA Payable                                                                  1,800,075.00
Due to Other Genie Entities                                                  1,118,592.88
CHASE MM Acct# xxx2222                                                         261,468.43

Due to Other Genie Entities                                                  -5,600,000.00



Due Diligence Revenue                                                          -12,000.00



Termination Refund                                                            -100,000.00



Termination Refund                                                             -30,000.00
Legal & Professional Fees:Legal Expense                                          -5,000.00

Bridge Interest Revenue                                                         96,287.50



Loan Account - Morgan Stanley Liquidity Access Line Acct#xxx145861-290       5,735,000.00

Bridge Interest Revenue                                                         96,287.50



Termination Refund                                                           -5,000,000.00

Loans Receivable Offset from Chase Bk                                          -25,000.00



Warrant Investment                                                             -25,000.00
Warrant Investment                                                            -200,000.00




Warrant Investment                                                             -45,000.00



Warrant Investment                                                             -40,000.00



Warrant Investment                                                             -50,000.00



Warrant Investment                                                            -100,000.00
Warrant Investment                                                             -50,000.00
Loan Closing Settlement                                                       -139,400.00



Warrant Investment                                                             -75,000.00

Warrant Investment                                                             -50,000.00
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ICA Payable                                                                     67,575.00
Legal & Professional Fees:Legal Expense                                          -5,000.00
Legal & Professional Fees:Legal Expense                                          -5,000.00
Legal & Professional Fees:Legal Expense                                          -1,499.90



Termination Refund                                                             -15,000.00




Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account                  350,000.00

Termination Refund                                                            -400,000.00




Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account                  570,890.00



Loans Receivable Offset from Chase Bk                                          -53,950.00



Loans Receivable Offset from Chase Bk                                          -23,900.00



Due to Other Genie Entities                                                    520,000.00



Due Diligence Revenue                                                         -165,000.00



Termination Refund                                                            -150,000.00

Loans Receivable Offset from Chase Bk                                          -50,000.00



Bridge Interest Revenue                                                        -10,000.00



Loan Account - Morgan Stanley Liquidity Access Line Acct#xxx145861-290         780,000.00
Legal & Professional Fees:Legal Expense                                          -1,795.00
Legal & Professional Fees:Legal Expense                                        -11,142.80
Legal & Professional Fees:Legal Expense                                          -2,249.85

Loans Receivable Offset from Chase Bk                                            -6,000.00
Termination Refund                                                            -110,752.00
-Split-                                                                      -1,141,124.32




CHASE Checkingxxx8502                                                          -40,000.00
CHASE MM Acct# xxx2222                                                          28,644.00
CHASE Checkingxxx8502                                                            9,000.00
                 Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 161 of 194


CHASE Checkingxxx8502                                          -6,500.00
CHASE Checkingxxx8502                                         17,000.00
CHASE MM Acct# xxx2222                                        45,000.00
CHASE Checkingxxx8502                                        -15,000.00
CHASE Checkingxxx8502                                       -100,000.00
CHASE MM Acct# xxx2222                                        18,000.00
-Split-                                                        -2,045.29




CHASE Checkingxxx8502                                         15,000.00
CHASE Checkingxxx8502                                          -9,000.00
CHASE Checkingxxx8502                                         30,000.00
CHASE Checkingxxx8502                                        -60,000.00
CHASE Checkingxxx8502                                        165,000.00
CHASE Checkingxxx8502                                         91,000.00
CHASE Checkingxxx8502                                         99,000.00
CHASE Checkingxxx8502                                        -10,000.00
CHASE Checkingxxx8502                                          7,500.00
CHASE Checkingxxx8502                                         80,000.00
CHASE Checkingxxx8502                                         34,500.00
CHASE Checkingxxx8502                                       -450,000.00
-Split-                                                      -21,307.38




CHASE Checkingxxx8502                                      -1,450,000.00
CHASE Checkingxxx8502                                        476,500.00

Bridge Interest Revenue                                       26,805.00




Bridge Interest Revenue                                        9,000.00
CHASE Chk xxx9701 (Legal)                                    -28,644.00
CHASE Checkingxxx8502                                          -7,161.00
CHASE Checkingxxx8502                                        602,500.00



Bridge Interest Revenue                                       45,000.00



Bridge Interest Revenue                                      115,000.00
CHASE Checkingxxx8502                                        114,000.00
CHASE Chk xxx9701 (Legal)                                    -45,000.00
CHASE Checkingxxx8502                                        140,000.00
CHASE Checkingxxx8502                                        150,000.00
CHASE Checkingxxx8502                                        -12,500.00
CHASE Checkingxxx8502                                        200,000.00
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CHASE Checkingxxx8502                                    -1,950,000.00
CHASE Checkingxxx8502                                       15,000.00
CHASE Checkingxxx8502                                       15,000.00
CHASE Checkingxxx8502                                      155,000.00
CHASE Checkingxxx8502                                     -132,000.00
CHASE Checkingxxx8502                                      100,000.00
CHASE Chk xxx9701 (Legal)                                  -18,000.00
ICA Payable                                                100,000.00
CHASE Checkingxxx8502                                     -261,468.43
-Split-                                                      -2,000.80



-Split-                                                    383,418.00



-Split-                                                     20,000.00



-Split-                                                     50,000.00



-Split-                                                     20,000.00



-Split-                                                     13,000.00

-Split-                                                     52,000.00



-Split-                                                     20,000.00



-Split-                                                     10,000.00



-Split-                                                     50,000.00



-Split-                                                     20,000.00

-Split-                                                      5,000.00



-Split-                                                     40,000.00



-Split-                                                     40,000.00



-Split-                                                     40,000.00


-Split-                                                     40,000.00
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-Split-                                               40,000.00


-Split-                                               40,000.00


-Split-                                               40,000.00


-Split-                                               40,000.00


-Split-                                               20,000.00


-Split-                                               68,477.79

-Split-                                              600,000.00

-Split-                                               -15,000.00




-Split-                                               35,000.00
-Split-                                               25,000.00
-Split-                                                2,500.00
-Split-                                               20,000.00
-Split-                                               20,000.00
-Split-                                               20,000.00
-Split-                                               20,000.00
-Split-                                               20,000.00
-Split-                                               20,000.00
-Split-                                               15,000.00
-Split-                                               20,000.00

-Split-                                               -10,300.00
-Split-                                               -31,900.00

-Split-                                                6,500.00

-Split-                                               20,000.00

-Split-                                                -9,400.00

-Split-                                               -31,900.00

-Split-                                               -31,900.00
-Split-                                               -31,900.00

-Split-                                               10,000.00

-Split-                                                5,000.00
-Split-                                               -31,900.00

-Split-                                               -15,900.00
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-Split-                                                   -15,900.00
-Split-                                                   -31,900.00

-Split-                                                   25,000.00

-Split-                                                   -39,900.00
-Split-                                                   -31,900.00

-Split-                                                   -31,900.00
CHASE Checkingxxx8502                                     30,000.00

CHASE Checkingxxx8502                                     25,000.00

-Split-                                                   -20,000.00

-Split-                                                   -52,000.00

-Split-                                                    -3,900.00



CHASE Checkingxxx8502                                     53,950.00



CHASE Checkingxxx8502                                     23,900.00

CHASE Checkingxxx8502                                     50,000.00

-Split-                                                   -50,000.00

CHASE Checkingxxx8502                                       6,000.00

-Split-                                                   10,000.00

-Split-                                                   -19,300.00

-Split-                                                   -15,900.00

-Split-                                                   50,000.00

-Split-                                                 5,000,000.00




-Split-                                                     1,093.91
-Split-                                                    -1,116.05


-Split-                                                   22,301.10

-Split-                                                    -3,068.63

-Split-                                                   -19,232.47



-Split-                                                    -1,117.30
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-Split-                                                -1,170.35



-Split-                                                -1,182.66


-Split-                                               22,285.28

-Split-                                               -21,986.96




-Split-                                                6,879.43

-Split-                                               76,054.63

-Split-                                              -101,513.12




-Split-                                               57,585.91

-Split-                                                1,364.81
-Split-                                               -58,950.72



-Split-                                              332,833.50
-Split-                                              -334,267.04

-Split-                                                1,433.54




-Split-                                               11,696.01

-Split-                                               -14,361.27

-Split-                                               21,142.80

-Split-                                                1,108.09
-Split-                                               -23,194.81




-Split-                                                  947.92

-Split-                                                -3,558.79

-Split-                                                1,104.16
-Split-                                                -1,132.07


-Split-                                               44,628.81

-Split-                                               -44,038.77



-Split-                                               33,793.79
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-Split-                                               -34,566.13


-Split-                                                -1,122.69


-Split-                                               22,270.66

-Split-                                                -1,029.34

-Split-                                               -21,241.32




-Split-                                               10,710.07

-Split-                                               12,716.24

-Split-                                               35,744.50

-Split-                                               -86,963.40
-Split-                                               44,512.22

-Split-                                               -44,257.86


-Split-                                                -1,365.76


-Split-                                              331,335.00

-Split-                                              -332,019.47




-Split-                                              223,424.68
-Split-                                              -224,538.63



-Split-                                                -1,267.55



-Split-                                               33,796.77

-Split-                                                1,867.91
-Split-                                               -36,246.31



-Split-                                                1,085.69



-Split-                                                1,111.22
-Split-                                                -1,101.64


-Split-                                                -1,121.16
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 167 of 194



-Split-                                                 -1,091.49

-Split-                                                 1,104.81



-Split-                                                 2,567.84

-Split-                                                 -2,991.06




-Split-                                                25,012.20

-Split-                                               -25,012.13




-Split-                                               271,098.47

-Split-                                             3,405,169.51

-Split-                                               425,835.92
-Split-                                               544,567.06

-Split-                                             -2,085,376.10
-Split-                                             -1,200,000.00
-Split-                                             4,341,756.73
-Split-                                             1,095,622.93

-Split-                                               867,376.44

-Split-                                                 6,335.62
-Split-                                             -8,040,068.82

-Split-                                                70,523.60
-Split-                                             1,500,000.00

-Split-                                             -1,500,217.20



-Split-                                                55,603.98

-Split-                                                22,072.21
-Split-                                               -78,201.40



-Split-                                                 1,105.93
-Split-                                                 -1,117.76




-Split-                                                 7,790.37

-Split-                                               -14,309.78
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-Split-                                               22,224.40

-Split-                                                -1,456.03

-Split-                                               -20,768.37



-Split-                                               11,391.12
-Split-                                               -11,524.65




-Split-                                               11,770.77

-Split-                                               -15,450.05




-Split-                                               19,754.94

-Split-                                               -45,121.11


-Split-                                                -1,012.11



-Split-                                               56,855.40
-Split-                                               -57,124.75



-Split-                                               11,402.46
-Split-                                               -11,654.18



-Split-                                                -1,227.23




-Split-                                              114,305.93
-Split-                                              -115,575.14

-Split-                                                1,269.21




-Split-                                              114,332.29
-Split-                                              -116,108.80

-Split-                                                1,776.51


-Split-                                              223,842.65

-Split-                                                -2,518.75

-Split-                                              -221,323.90
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 169 of 194




-Split-                                                58,453.50
-Split-                                                25,688.90

-Split-                                             2,512,025.64
-Split-                                             -2,747,378.62

-Split-                                                 3,032.91




-Split-                                                 5,072.75
-Split-                                                 -4,900.09



-Split-                                                 1,109.83
-Split-                                                 -1,062.41



-Split-                                                 1,008.86
-Split-                                                 -1,026.41



-Split-                                                 4,617.97
-Split-                                                 -4,865.60


-Split-                                                 -1,172.66


-Split-                                                 -1,126.13


-Split-                                               999,904.50

-Split-                                                 -2,311.90

-Split-                                              -997,592.60




-Split-                                                 1,055.95
-Split-                                                 -2,212.33



-Split-                                                33,283.10

-Split-                                               -33,194.39




-Split-                                                14,337.12
-Split-                                                 6,085.80

-Split-                                               284,799.70
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 170 of 194


-Split-                                              -343,144.15


-Split-                                             4,999,949.30

-Split-                                               -14,385.84

-Split-                                             -4,985,563.46




-Split-                                              -103,589.64

-Split-                                               124,767.68

-Split-                                              -614,546.43
-Split-                                              -518,420.42



-Split-                                                 9,779.69
-Split-                                                 -9,812.21



-Split-                                               113,748.86
-Split-                                              -115,272.61



-Split-                                                45,181.17
-Split-                                                29,001.86

-Split-                                                 1,393.14

-Split-                                                33,178.29

-Split-                                                 4,580.55
-Split-                                              -114,250.34




-Split-                                                 4,618.82
-Split-                                                 -5,067.31



-Split-                                                 4,638.57
-Split-                                                 -4,966.71



-Split-                                                21,031.90

-Split-                                                 -1,159.76

-Split-                                               -21,019.36


-Split-                                                 -1,208.61
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 171 of 194




-Split-                                                43,558.02
-Split-                                                19,189.59

-Split-                                             2,455,229.64
-Split-                                             -2,632,765.73

-Split-                                                 3,700.84


-Split-                                               499,982.71

-Split-                                                 -1,146.26

-Split-                                              -498,836.45


-Split-                                                21,146.78

-Split-                                               -20,597.85

-Split-                                                 -1,811.91




-Split-                                              -148,213.26

-Split-                                                 1,064.70
-Split-                                                 -1,062.45
-Split-                                               499,948.06

-Split-                                                 -2,063.23

-Split-                                              -497,884.83




-Split-                                                 5,730.13
-Split-                                                 -5,940.17




-Split-                                                 4,795.93

-Split-                                                 -4,953.46




-Split-                                                29,251.25

-Split-                                                51,679.21

-Split-                                              -155,702.13
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 172 of 194




-Split-                                               57,369.97

-Split-                                                1,408.53
-Split-                                               -58,778.50



-Split-                                              110,910.80
-Split-                                              -111,359.34



-Split-                                              332,833.50

-Split-                                                1,001.90
-Split-                                              -335,210.86

-Split-                                                1,375.46




-Split-                                               11,380.03
-Split-                                               -11,626.06



-Split-                                               56,744.16
-Split-                                               -57,260.93




-Split-                                               11,467.97
-Split-                                               -11,205.27


-Split-                                                -1,102.85



-Split-                                               29,536.27
-Split-                                               13,057.66

-Split-                                              112,895.04
-Split-                                              -229,809.54

-Split-                                                1,137.92


-Split-                                                -1,142.60


-Split-                                                -1,123.39


-Split-                                                -1,142.81
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 173 of 194



-Split-                                                     -1,085.39

-Split-                                                     1,107.51




CHASE Checkingxxx8502                                   1,450,000.00

-Split-                                                     1,036.80

-Split-                                                   254,655.25

-Split-                                                     -2,046.03

-Split-                                                     8,758.17

-Split-                                                 -1,535,734.73
-Split-                                                     -1,701.51
-Split-                                                     2,866.80
-Split-                                                    11,958.32
-Split-                                                   559,834.50

-Split-                                                 -1,184,768.49
-Split-                                                     -2,586.64
-Split-                                                    11,837.02
-Split-                                                     -2,586.64
-Split-                                                     2,866.80




CHASE Checkingxxx8502                                     450,000.00




CHASE Checkingxxx8502                                     100,000.00
-Split-                                                    11,569.09

-Split-                                                    18,021.51
-Split-                                                     -2,860.57
-Split-                                                  -652,563.40
-Split-                                                    19,031.31
-Split-                                                     -3,100.58
-Split-                                                     6,668.13
-Split-                                                    24,005.58
-Split-                                                     -3,213.12

-Split-                                                   894,474.58

-Split-                                                   -39,572.29
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 174 of 194


-Split-                                                   -18,263.67




CHASE Checkingxxx8502                                    -350,000.00

-Split-                                                    15,000.00




CHASE Checkingxxx8502                                    -570,890.00

-Split-                                                   -14,428.29

-Split-                                                     -6,380.11

-Split-                                                    50,800.23

-Split-                                                     1,955.19
-Split-                                                     -6,123.99
-Split-                                                 9,328,727.40

-Split-                                                 2,317,854.81
-Split-                                                   -11,694.36
-Split-                                                    44,789.70
-Split-                                                     -3,968.45
-Split-                                                 -7,961,320.18
-Split-                                                 -2,317,854.81
-Split-                                                     3,968.45

-Split-                                                   912,255.49

-Split-                                                 -1,029,158.31
-Split-                                                   -10,879.00
-Split-                                                     -6,148.21
-Split-                                                    20,915.32

-Split-                                                  -600,000.00

-Split-                                                    40,207.81

-Split-                                                     -5,949.67

-Split-                                                   -33,521.95
-Split-                                                 9,853,181.51

-Split-                                                     3,795.00
-Split-                                                 -6,999,784.57
-Split-                                                     1,535.42
-Split-                                                    45,226.17
-Split-                                                     -5,836.21
-Split-                                                  -150,000.00
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 175 of 194


-Split-                                                66,044.04
-Split-                                             -1,500,000.00
-Split-                                                 1,821.25
-Split-                                                 -5,673.28
-Split-                                                 -5,825.70
-Split-                                                 -6,500.00
-Split-                                             -6,979,877.34

-Split-                                             8,480,094.54
-Split-                                                72,640.20



-Split-                                                11,429.14
-Split-                                               -11,178.50


-Split-                                                33,384.17

-Split-                                               -33,384.18



-Split-                                                 1,128.91
-Split-                                                 -1,638.54


-Split-                                               114,109.71
-Split-                                              -113,683.03



-Split-                                                 1,112.02
-Split-                                                 -1,082.71




-Split-                                                14,243.42

-Split-                                                15,651.32
-Split-                                                 -1,150.94

-Split-                                               -39,829.38

-Split-                                                 1,141.04
-Split-                                                 -1,258.05




-Split-                                                 1,509.17
-Split-                                                 -1,988.47


-Split-                                                 -1,400.44
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 176 of 194



-Split-                                                 1,109.58
-Split-                                                 -1,026.09




-Split-                                                57,175.87
-Split-                                               -57,332.70



-Split-                                               114,705.25

-Split-                                                 -6,486.42
-Split-                                              -108,218.83



-Split-                                               228,094.06
-Split-                                              -228,904.27


-Split-                                                 -1,122.89




-Split-                                                58,014.17
-Split-                                                25,748.03

-Split-                                               910,981.57

-Split-                                                 2,744.78
-Split-                                             -1,145,818.07



-Split-                                                 -1,056.42



-Split-                                                 1,093.79
-Split-                                                 -1,122.50



-Split-                                                 1,082.07

-Split-                                                 -1,060.28



-Split-                                                 1,022.30
-Split-                                                 -1,104.74



-Split-                                                11,476.97
-Split-                                                 1,015.30

-Split-                                               -10,351.08
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 177 of 194



-Split-                                                -2,494.39



-Split-                                                1,110.67

-Split-                                               10,121.86
-Split-                                               -10,573.41



-Split-                                              332,833.50
-Split-                                              -334,153.82

-Split-                                                1,320.32



-Split-                                                1,104.34

-Split-                                               10,017.39
-Split-                                                -9,646.41

-Split-                                                -1,475.32



-Split-                                                -1,033.09

-Split-                                                1,084.23




-Split-                                               26,391.89
-Split-                                                -1,600.23

-Split-                                               26,487.27

-Split-                                               -51,159.36




-Split-                                                -5,424.58

-Split-                                              147,356.44

-Split-                                              -513,795.68




-Split-                                              334,048.34
-Split-                                                -4,009.91

-Split-                                              -515,344.37




-Split-                                               73,627.13
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 178 of 194



-Split-                                                  -258,030.72


-Split-                                                     1,005.39

-Split-                                                    -1,005.39




-Split-                                                     4,779.84
-Split-                                                    -2,028.13

-Split-                                                    -3,112.23



-Split-                                                    -1,061.94




-Split-                                                     5,164.23
-Split-                                                    -4,963.52




-Split-                                                   72,767.08

-Split-                                                  -258,327.27


-Split-                                                   22,245.94

-Split-                                                   -20,571.38

-Split-                                                    -1,674.56


-Split-                                                   44,591.76

-Split-                                                   -42,941.46

-Split-                                                    -1,650.30



-Split-                                                     1,104.75
-Split-                                                    -1,115.35




CHASE Checkingxxx8502                                    -499,975.00

-Split-                                                75,000,000.00
-Split-                                                 3,000,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 179 of 194



-Split-                                                  -116,480.00



CHASE Checkingxxx8502                                     500,000.00



CHASE Checkingxxx8502                                     125,000.00



CHASE Checkingxxx8502                                      25,000.00



CHASE Checkingxxx8502                                     100,000.00



CHASE Checkingxxx8502                                      40,000.00



CHASE Checkingxxx8502                                      50,000.00




CHASE Checkingxxx8502                                      45,000.00
CHASE Checkingxxx8502                                     200,000.00
CHASE Checkingxxx8502                                      50,000.00



CHASE Checkingxxx8502                                      75,000.00

CHASE Checkingxxx8502                                      50,000.00

-Split-                                                  -110,752.00

-Split-                                                  -672,500.00

-Split-                                                  -383,418.00




-Split-                                                   -50,000.00

-Split-                                                 -5,000,000.00
-Split-                                                 -3,000,000.00




CHASE Checkingxxx8502                                   1,118,592.88

CHASE Checkingxxx8502                                   -5,600,000.00



CHASE Checkingxxx8502                                     520,000.00
-Split-                                                  -476,050.00
-Split-                                                   318,281.01
          Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24    Page 180 of 194


-Split-                                               20,000.00
-Split-                                               20,000.00

-Split-                                               25,000.00

-Split-                                                6,500.00
-Split-                                               15,000.00

-Split-                                               20,000.00
-Split-                                               20,000.00

-Split-                                                5,000.00

-Split-                                               10,000.00

-Split-                                               20,000.00
-Split-                                               20,000.00

-Split-                                               20,000.00

-Split-                                                2,500.00

-Split-                                               10,000.00

-Split-                                               10,000.00

-Split-                                               -24,263.01

-Split-                                                -2,893.14

-Split-                                                -1,586.41

-Split-                                                -2,838.35

-Split-                                                -2,379.61

-Split-                                                -3,346.39

-Split-                                               -14,178.09

-Split-                                                -5,676.70

-Split-                                                -2,296.43

-Split-                                                -1,699.73

-Split-                                               -15,739.18

-Split-                                                -2,257.54

-Split-                                                -5,665.74

-Split-                                                -3,807.39

-Split-                                                -3,399.46

-Split-                                                -1,503.12
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24    Page 181 of 194



-Split-                                                   -11,481.57

-Split-                                                    -3,402.75

-Split-                                                    -2,826.13

-Split-                                                    -1,688.10
-Split-                                                    -1,699.48

-Split-                                                    -1,133.14

-Split-                                                    -1,013.71

-Split-                                                    -2,291.27

-Split-                                                    -2,719.55



-Split-                                                   15,000.00

-Split-                                                   -15,000.00




CHASE Checkingxxx8502                                    100,075.00



CHASE Checkingxxx8502                                     20,075.00




CHASE Checkingxxx8502                                      5,075.00




CHASE Checkingxxx8502                                     74,052.69
-Split-                                                    2,500.00




CHASE Checkingxxx8502                                      2,575.00



CHASE Checkingxxx8502                                     25,000.00



CHASE Checkingxxx8502                                     20,075.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24    Page 182 of 194




CHASE Checkingxxx8502                                     20,075.00




CHASE Checkingxxx8502                                     20,075.00



CHASE Checkingxxx8502                                     50,075.00



CHASE Checkingxxx8502                                    200,075.00




CHASE Checkingxxx8502                                     25,974.31
-Split-                                                   20,000.00
-Split-                                                   20,000.00
-Split-                                                   20,000.00
-Split-                                                   20,000.00
-Split-                                                   20,000.00




CHASE Checkingxxx8502                                     20,075.00




CHASE Checkingxxx8502                                     20,075.00

CHASE Checkingxxx8502                                    176,075.00




CHASE Checkingxxx8502                                     15,075.00




CHASE Checkingxxx8502                                     20,075.00




CHASE Checkingxxx8502                                    150,075.00
-Split-                                                   20,000.00
-Split-                                                   20,000.00
-Split-                                                   15,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 183 of 194




CHASE Checkingxxx8502                                     20,075.00



CHASE Checkingxxx8502                                    150,075.00




CHASE Checkingxxx8502                                    200,075.00

CHASE Checkingxxx8502                                     15,075.00



CHASE Checkingxxx8502                                     15,075.00

CHASE Checkingxxx8502                                       5,075.00



CHASE Checkingxxx8502                                     90,075.00
CHASE MM Acct# xxx2222                                   100,000.00



CHASE Checkingxxx8502                                   1,100,000.00
-Split-                                                   -20,000.00

-Split-                                                   25,000.00

-Split-                                                   -25,000.00

-Split-                                                     6,500.00

-Split-                                                    -6,500.00
-Split-                                                   -15,000.00

-Split-                                                   20,000.00

-Split-                                                   -20,000.00
-Split-                                                   -20,000.00

-Split-                                                   -20,000.00

-Split-                                                   10,000.00

-Split-                                                   -10,000.00

-Split-                                                     5,000.00
-Split-                                                   -20,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 184 of 194


-Split-                                                   -20,000.00
-Split-                                                   -20,000.00

-Split-                                                    -5,000.00

CHASE Checkingxxx8502                                    180,075.00



CHASE Checkingxxx8502                                     20,075.00

-Split-                                                   -20,000.00



CHASE Checkingxxx8502                                   1,800,075.00



CHASE Checkingxxx8502                                   1,800,075.00




CHASE Checkingxxx8502                                     67,575.00

-Split-                                                    -2,500.00

-Split-                                                   -10,000.00

-Split-                                                   10,000.00

-Split-                                                   -10,000.00

-Split-                                                    -1,809.52




-Split-                                                   17,316.71

-Split-                                                   18,431.81

-Split-                                                   17,126.40
-Split-                                                   19,479.33



CHASE Checkingxxx8502                                   5,735,000.00
-Split-                                                   19,474.58
-Split-                                                   21,938.52



CHASE Checkingxxx8502                                    780,000.00
-Split-                                                   91,707.35

-Split-                                                   28,731.59
-Split-                                                   65,805.67

-Split-                                                   64,854.47
-Split-                                                  -150,000.00
-Split-                                                   67,495.39
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 185 of 194


-Split-                                                   64,864.23



-Split-                                                75,000,000.00




CHASE Checkingxxx8502                                     45,075.00

CHASE MM Acct# xxx2222                                    26,805.00




CHASE Checkingxxx8502                                     37,500.00




CHASE MM Acct# xxx2222                                      9,000.00




CHASE Checkingxxx8502                                    165,075.00



CHASE Checkingxxx8502                                     15,000.00




CHASE Checkingxxx8502                                    150,000.00




CHASE Checkingxxx8502                                       7,575.00



CHASE MM Acct# xxx2222                                    45,000.00



CHASE MM Acct# xxx2222                                   115,000.00




CHASE Checkingxxx8502                                     80,075.00




CHASE Checkingxxx8502                                     34,575.00




CHASE Checkingxxx8502                                    150,000.00

CHASE Checkingxxx8502                                     45,000.00

CHASE Checkingxxx8502                                    150,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24    Page 186 of 194



CHASE Checkingxxx8502                                    245,000.00



CHASE Checkingxxx8502                                    100,075.00

CHASE Checkingxxx8502                                     96,287.50

CHASE Checkingxxx8502                                     96,287.50



CHASE Checkingxxx8502                                     -10,000.00



-Split-                                                    2,000.00

-Split-                                                    2,000.00

-Split-                                                    1,000.00
-Split-                                                    2,000.00
-Split-                                                    2,000.00

-Split-                                                    2,500.00
-Split-                                                    2,000.00
-Split-                                                    2,000.00
-Split-                                                    1,000.00
-Split-                                                    2,000.00

-Split-                                                    2,000.00

-Split-                                                    1,000.00




CHASE Checkingxxx8502                                     35,000.00
-Split-                                                   35,000.00




CHASE Checkingxxx8502                                     20,000.00




CHASE Checkingxxx8502                                     20,000.00




CHASE Checkingxxx8502                                     15,000.00




CHASE Checkingxxx8502                                     30,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24    Page 187 of 194




CHASE Checkingxxx8502                                     25,000.00
-Split-                                                   25,000.00




CHASE Checkingxxx8502                                     40,000.00



CHASE Checkingxxx8502                                     15,075.00



CHASE Checkingxxx8502                                     15,000.00

CHASE Checkingxxx8502                                     -16,000.00




CHASE Checkingxxx8502                                      7,500.00




CHASE Checkingxxx8502                                     40,000.00




CHASE Checkingxxx8502                                      7,500.00




CHASE Checkingxxx8502                                     40,000.00




CHASE Checkingxxx8502                                     15,000.00




CHASE Checkingxxx8502                                     30,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 188 of 194




CHASE Checkingxxx8502                                      30,000.00




CHASE Checkingxxx8502                                      15,000.00

CHASE Checkingxxx8502                                      25,000.00

CHASE Checkingxxx8502                                      25,000.00



CHASE Checkingxxx8502                                     -10,000.00
CHASE Checkingxxx8502                                     -10,000.00

CHASE Checkingxxx8502                                      15,000.00
CHASE Checkingxxx8502                                      45,000.00

CHASE Checkingxxx8502                                      30,000.00



CHASE Checkingxxx8502                                       -5,250.00



CHASE Checkingxxx8502                                      15,000.00

CHASE Checkingxxx8502                                      37,000.00



CHASE Checkingxxx8502                                      30,000.00

CHASE Checkingxxx8502                                     150,000.00



CHASE Checkingxxx8502                                     -12,000.00
CHASE Checkingxxx8502                                     -18,000.00



CHASE Checkingxxx8502                                     -14,800.00

CHASE Checkingxxx8502                                      30,000.00



CHASE Checkingxxx8502                                     -12,000.00



CHASE Checkingxxx8502                                     -12,000.00



CHASE Checkingxxx8502                                    -165,000.00



-Split-                                                  -116,480.00

CHASE Checkingxxx8502                                    -116,480.00
CHASE Checkingxxx8502                                   -1,950,000.00
              Case 3:24-bk-00496-BAJ   Doc 40   Filed 04/03/24     Page 189 of 194



CHASE Checkingxxx8502                                    -500,000.00



CHASE Checkingxxx8502                                    -150,000.00



CHASE Checkingxxx8502                                    -100,000.00



CHASE Checkingxxx8502                                     -30,000.00



CHASE Checkingxxx8502                                   -5,000,000.00



CHASE Checkingxxx8502                                     -15,000.00

CHASE Checkingxxx8502                                    -400,000.00



CHASE Checkingxxx8502                                    -150,000.00

-Split-                                                  -110,752.00
CHASE Checkingxxx8502                                    -110,752.00
-Split-                                                 -1,100,000.00
-Split-                                                  -318,281.01

-Split-                                                  -672,500.00




CHASE Checkingxxx8502                                      22,000.00

CHASE Checkingxxx8502                                       8,250.00

CHASE Checkingxxx8502                                       8,000.00

CHASE Checkingxxx8502                                       3,000.00

CHASE Checkingxxx8502                                       5,250.00

CHASE Checkingxxx8502                                       2,437.50

CHASE Checkingxxx8502                                      12,000.00

CHASE Checkingxxx8502                                       4,500.00

CHASE Checkingxxx8502                                       3,750.00

CHASE Checkingxxx8502                                      10,000.00

CHASE Checkingxxx8502                                       4,500.00

CHASE Checkingxxx8502                                       3,750.00

CHASE Checkingxxx8502                                       6,000.00

CHASE Checkingxxx8502                                      16,000.00
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CHASE Checkingxxx8502                                      3,750.00

CHASE Checkingxxx8502                                     12,000.00

CHASE Checkingxxx8502                                      5,250.00
CHASE Checkingxxx8502                                      5,250.00


CHASE Checkingxxx8502                                      6,424.25
CHASE Checkingxxx8502                                     -5,671.25
CHASE Checkingxxx8502                                      1,165.00


CHASE Checkingxxx8502                                      2,086.90


CHASE Checkingxxx8502                                      5,000.00



-Split-                                                    2,046.03
-Split-                                                    2,586.64
-Split-                                                    2,586.64
-Split-                                                    2,860.57
-Split-                                                    3,100.58
-Split-                                                    3,213.12

-Split-                                                    6,380.11
-Split-                                                    6,123.99
-Split-                                                    6,148.21

-Split-                                                    5,949.67
-Split-                                                    5,836.21
-Split-                                                    5,673.28
-Split-                                                    5,825.70




CHASE Checkingxxx8502                                      9,266.68

CHASE Checkingxxx8502                                     15,000.00
CHASE Checkingxxx8502                                      3,000.00
CHASE Checkingxxx8502                                      5,000.00
CHASE Checkingxxx8502                                      6,175.08
CHASE Checkingxxx8502                                      5,000.00
CHASE Checkingxxx8502                                      5,000.00
CHASE Checkingxxx8502                                      5,000.00
CHASE Checkingxxx8502                                      1,499.90
CHASE Checkingxxx8502                                      1,795.00
CHASE Checkingxxx8502                                     11,142.80
CHASE Checkingxxx8502                                      2,249.85
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CHASE Checkingxxx8502                                     31,900.00
CHASE Checkingxxx8502                                      7,900.00



CHASE Checkingxxx8502                                     31,900.00



CHASE Checkingxxx8502                                      1,850.00



CHASE Checkingxxx8502                                     15,900.00



CHASE Checkingxxx8502                                     31,900.00



CHASE Checkingxxx8502                                     31,900.00




CHASE Checkingxxx8502                                     -31,900.00

CHASE Checkingxxx8502                                     15,900.00



CHASE Checkingxxx8502                                     31,900.00



CHASE Checkingxxx8502                                     39,900.00



CHASE Checkingxxx8502                                     31,900.00
CHASE Checkingxxx8502                                     31,900.00



CHASE Checkingxxx8502                                     31,900.00



CHASE Checkingxxx8502                                     31,900.00
CHASE Checkingxxx8502                                    139,400.00
-Split-                                                  -476,050.00



-Split-                                                    8,758.17
-Split-                                                    -1,701.51
-Split-                                                   11,837.02
-Split-                                                   11,958.32
-Split-                                                   11,569.09
-Split-                                                   19,031.31
-Split-                                                   24,005.58
-Split-                                                   -18,263.67

-Split-                                                   -14,428.29
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-Split-                                               50,800.23
-Split-                                               44,789.70
-Split-                                               -11,694.36
-Split-                                               20,915.32
-Split-                                               -10,879.00

-Split-                                               -33,521.95

-Split-                                               40,207.81
-Split-                                               45,226.17
-Split-                                               66,044.04
-Split-                                               72,640.20



-Split-                                                1,036.80
-Split-                                                2,866.80
-Split-                                                2,866.80
-Split-                                                6,668.13

-Split-                                                1,955.19

-Split-                                                3,795.00


-Split-                                               20,000.00

-Split-                                               24,263.01

-Split-                                                1,586.41

-Split-                                                2,838.35

-Split-                                                2,257.54

-Split-                                                1,699.73

-Split-                                                2,296.43

-Split-                                                5,676.70

-Split-                                               14,178.09

-Split-                                               15,739.18

-Split-                                                1,503.12

-Split-                                                3,399.46

-Split-                                                3,807.39

-Split-                                                5,665.74

-Split-                                                2,893.14

-Split-                                                3,346.39
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-Split-                                                 2,379.61

-Split-                                                11,481.57

-Split-                                                 3,402.75

-Split-                                                 1,688.10
-Split-                                                 1,699.48

-Split-                                                 2,826.13

-Split-                                                 1,809.52

-Split-                                                 1,013.71

-Split-                                                 1,133.14

-Split-                                                 2,719.55

-Split-                                                 2,291.27




-Split-                                             2,317,854.81
-Split-                                             -2,317,854.81
-Split-                                             -6,979,877.34



-Split-                                                66,353.08

-Split-                                             6,106,298.46

-Split-                                                22,822.96

-Split-                                                82,681.77


-Split-                                                 1,535.42
-Split-                                                 1,821.25


-Split-                                                17,316.71

-Split-                                                18,431.81



-Split-                                                17,126.40
-Split-                                                19,479.33
-Split-                                                19,474.58
-Split-                                                21,938.52
-Split-                                                91,707.35

-Split-                                                28,731.59
-Split-                                                65,805.67

-Split-                                                64,854.47
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-Split-                                               67,495.39
-Split-                                               64,864.23


-Split-                                               10,992.50

-Split-                                                2,164.14
-Split-                                                1,580.08

-Split-                                               18,259.03

-Split-                                                1,475.32

-Split-                                                6,486.42

-Split-                                               19,907.23




-Split-                                                3,968.45
-Split-                                               -3,968.45
                                              $              0.00
